        Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 1 of 40




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
ALBANY MEDICAL CENTER, et al.,

                     Plaintiffs,
       v.
XAVIER BECERRA,                           Case No.: Not Yet Assigned
Secretary of Health and Human Services,

              Defendant.




                            COMPLAINT EXHIBIT 1
          Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 2 of 40


                   DEPARTMENT OF HEALTH & HUMAN SERVICES


                                                                                Provider Reimbursement Review Board
                                                                                7500 Security Blvd.
                                                                                Mail Stop: B1-01-31
                                                                                Baltimore, MD 21244
                                                                                410-786-2671
Via Electronic Delivery

Gregory Etzel, Esq.
Morgan, Lewis & Bockius LLP
1000 Louisiana St., Ste. 4000
Houston, TX 77002

    RE: Notice of Dismissal – Updated Rationale
        Morgan Lewis Standardized Amount CIRP Group Cases
        Case Nos. 19-0212G, et al. (see Appendix A listing 119 group cases)

Dear Mr. Etzel:

The Provider Reimbursement Review Board (“Board”) has reviewed the appeal requests filed by
the Providers in the one hundred and nineteen (119) above-referenced common issue related
party (“CIRP”) group cases relating to the standardized amounts used in federal rates for the
inpatient prospective payment system (“IPPS”) during federal fiscal year ("FFY”) 1984, the
initial year of IPPS. The Medicare Contractor has filed Jurisdictional Challenges in all of those
group cases. The Providers’ Representative filed responses to these challenges. As set forth
below, the Board has determined that, consistent with 42 U.S.C. §§ 1395ww(d)(7) and
1395oo(g)(2) and 42 C.F.R. § 405.1840(b), it lacks substantive jurisdiction over the appealed
issue and is therefore dismissing all one hundred and nineteen (119) CIRP group cases in their
entirety. This determination is consistent with its prior dismissal determinations in other cases
involving the same issue where the Board found no substantive jurisdiction;1 however, in
response to the additional briefing on this issue by other parties, the Board’s decision has been
updated to clarify and confirm that the federal rates for FFY 1986 and subsequent FFYs used the
FFY 1985 budget neutrality-adjusted federal rates.

In summary, the Board finds that it lacks substantive jurisdiction over the issue raised in these
appeals because the standardized amounts used for IPPS rates for FFYs 1984 and FFY 1985 are
each based on the budget neutrality adjustment made for that FFY and the 1984 and 1985 budget
neutrality adjustments are presumably designed to be corrective of the initial base rate that was set
using 1981 data.2 Therefore, the final FFY 1984 and 1985 standardized amounts are inextricably

1
  Prior Board dismissal determinations of the issue in the instant group appeals include but are not limited to: Board dec.
dated Apr. 6, 2023 (lead Case No. 19-0233GC); Board dec. dated Dec. 14, 2023 (lead Case No. 23-0695GC); Board dec.
dated Jan. 23, 2024 (lead Case No. 19-1094GC); Board dec. dated Jan. 24, 2024 (lead Case No. 23-1522GC); and Board
dec. dated Jan. 31, 2024 (lead Case No. 19-0847GC). These jurisdictional decisions are posted on the Board’s website,
by the relevant year and month, at https://www.cms.gov/medicare/regulations-guidance/provider-reimbursement-review-
board/list-prrb-jurisdictional-decisions.
2
  The Board has included at Appendix B examples of other adjustments to the standardized amounts that have occurred
outside of the FFY 1984 and 1985 budget neutrality adjustments. These intervening adjustments for FFYs 1986 and




                                          COMPLAINT EXHIBIT 1
          Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 3 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 2

intertwined with those applicable budget neutrality adjustments.3 Indeed, the standardized amounts
were too high for FFYs 1984 and 1985 and the budget neutrality adjustments applied to those years
reduced the standardized amounts (reduced by factors of approximately 0.03 for FFY 1984 and 0.05
for FFY 1985) and, thus, these budget neutrality adjustments appear to have automatically
accounted for any such alleged errors in setting the initial base rate (which again was based on 1981
data).4 Because the FFY 1985 budget neutrality-adjusted rate was used/flowed forward for
determining FFY 1986 rates and the rates for subsequent FFYs and because 42 U.S.C. §
1395ww(d)(7) prohibits administrative or judicial review of the FFY 1984 and 1985 budget
neutrality adjustments, the Board may not review the standardized amount used for the FFYs
appealed as it relates to the common issue in these appeals. In this regard, the Board again notes
that the rates for FFY 1986 and subsequent years are based on the budget neutrality adjusted FFY
1985 rates. Accordingly, the Providers may not simply pass through, or over, the budget neutrality
adjustments for FFYs 1984 and 1985, for purposes of future FFYs,5 because those adjustments are
tied to an absolute external event (the Secretary’s estimate, based on the best available data, of what
would have been paid for those years if there were no IPPS) and were fixed (no greater and no less
than what would have been paid had there been no IPPS). To do otherwise, would impact the very
integrity of IPPS.6

Background:

Morgan, Lewis & Bockius LLP (“Providers’ Representative”) represents a number of providers
in common issue related party (“CIRP”) and optional groups which are challenging the IPPS
standardized amount. The Medicare Contractor filed five (5) Jurisdictional Challenges covering
one hundred and nineteen (119) group cases.7 The Providers’ Representative filed responses to
these challenges. The group issue statements, jurisdictional challenges, and responses thereto for
all one hundred and nineteen (119) cases are materially identical and can be considered together.

The group issue statement presented is:

                  Whether the Secretary’s failure to distinguish between patient discharges
                  and transfers during the implementation of the inpatient prospective
                  payment system resulted in an understatement of the Federal DRG

2018 include both mandatory and discretionary revisions to the standardized amounts (as well as the Congress’
decisions to revise or not revise the “applicable percentage increases” for FFYs 1986 and forward as provided in 42
U.S.C. § 1395ww(b)(3)(B)(i)) and highlight the complexity of the issue before the Board, particularly where such
adjustments were made in a budget neutral manner or were based on factoring in certain other estimated impacts
3
  See infra note 55 (citing to decisions that discuss similar circumstances involving Medicare provisions found to be
inextricably tied to certain other provisions for which Congress precluded administrative and judicial review).
4
  See infra 39 note (discussing how the removal of nurse anesthetists costs were removed from IPPS and how that
removal was automatically accounted for as part of the 1985 budget neutrality adjustment).
5
  See also supra note 2 outlining additional intervening adjustments that could be adversely impacted by the relief
being sought by the Providers, thereby raising other similar IPPS integrity concerns.
6
  See also supra note 2 outlining additional intervening adjustments that could be adversely impacted by the relief
being sought by the Providers, thereby raising other similar IPPS integrity concerns that could potentially serve as
an alternative rationale.
7
  See Appendix A.




                                          COMPLAINT EXHIBIT 1
          Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 4 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 3

                  Prospective Payment Amounts paid to the Providers in the fiscal year at
                  issue.8

Procedural Background:

    A. Appealed Issue

In the Providers’ group issue statements, they explain that the IPPS requires the categorization of
different types of discharges (diagnostic related groups, or “DRGs”), and payment rates
applicable to each discharge category. Their appeals challenge the latter, arguing that the data
used to establish the initial “flat rate” payable per discharge resulted in an understated payment
rate. CMS opted to use 1981 as a “base year” to calculate these rates, and thus data was
collected from hospitals’ 1981 cost reports to determine average costs for each discharge
category. The data was adjusted for inflation and standardized, but the Providers argue that the
initial calculation of this standardized amount continues to serve as the base for all future
calculations. Since the Providers allege this initial calculation was understated, they argue that
the calculation for each subsequent year has also been understated.9

The Providers claim that the data sources used in collecting the 1981 data did not distinguish
between patients who were discharged from the hospital, and patients who were transferred to
another hospital or facility. They state that CMS views transfers as distinct from discharges, but
in calculating the average cost per discharge using the 1981 data, CMS erroneously included
transfers in the total number of discharges, thereby inflating the denominator of the cost to
discharge ratio. They claim that CMS has acknowledged this error in at least one other context
(i.e., during the implementation of the capital PPS), and that this error was the reason for certain
DRG weight recalibrations, but that CMS failed to fully correct the flawed Standardized
Amount.10

In each case, the Providers are challenging the applicable FFY IPPS rates as set forth in the
Federal Register.11 They argue the appeals are not barred by the “predicate facts” provision of
42 C.F.R. § 405.1885(a)(1)(iii) and that there is no impediment to CMS correcting its erroneous
data to remediate the flawed Standardized Amount. They claim that the average cost per
discharge should not include transfers, that CMS has acknowledged this as well as the fact that
certain Standardized Amounts erroneously included transfers. Finally, they argue that the
understated Standardized Amounts and their resulting understated Medicare payments produces
cost shifting prohibited by 42 U.S.C. § 1395x(v)(1)(A)(i).12


8
  E.g., Case 19-0212G, Group Issue Statement at 1 (Nov. 2, 2018).
9
  Id.
10
   E.g., PRRB Case No. 19-0212G, Providers’ Preliminary Position Paper at 11-12 (citing 56 Fed. Reg. 43449,
43387 (Aug. 30, 1991) (related to capital PPS) and 60 Fed. Reg. 45791 (Sept. 1, 1995) (related to recalibration of
DRG weights to exclude transfers for FY 1996)).
11
   See id. at 8 (“The Secretary’s original calculation of the Standardized Amount in 1983 still directly impacts
Medicare reimbursement under IPPS for the fiscal year at issue in this appeal.”).
12
   Id. at 13-14.




                                          COMPLAINT EXHIBIT 1
          Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 5 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 4

     B. Jurisdictional Challenges

The Medicare Contractor filed challenges in one hundred-nineteen (119) different group cases, and
the Providers filed a response in each case.13 The Medicare Contractor argues that the merits of
the appealed issue are illegitimate, but more importantly, that the Board lacks subject matter
jurisdiction and need not even address the merits of the issue. It references the Board’s April 6,
2023 decision dismissing five (5) different CIRP group appeals concerning the same issue. The
Medicare Contractor argues the Board should apply the same rationale and find that 42 U.S.C.
§ 1395ww(d)(7)(A) precludes administrative review of the base year standardized amounts. It also
claims that budget neutrality adjustments after the base year amount was calculated have corrected
any potential errors from prior years, and that the data shows the base year was, in fact, initially set
too high (rather than understated).

The Providers’ responses to these challenges reiterated that the group appeal rests on the fact that
each appeal’s IPPS payments for the applicable FFY are understated as “[t]he DRG Payment
Amount formula for fiscal year 1986, and all years following it, still includes a calculation of the
standardized amount with the same embedded Discharge Calculation error.”14 The ask the Board
to find it has jurisdiction over these appeals.

The Providers counter the Medicare Contractor by arguing that the plain language of 42 U.S.C. §
1395ww(d)(7)(A) “does not contain any limitation to the administrative or judicial review of the
Secretary’s determination of the standardized amount. . .15 The Providers claim they do not seek to
challenge the FFY 1984 or 1985 IPPS payments, and the Providers’ challenge is not “inextricably
tied” with the budget neutrality adjustment subject to judicial preclusion.16 The Providers also
argue that the Board was in error when it labeled the 1984-1985 budget neutrality adjustments as
the “applicable percentage increase”, as that term started with fiscal year 1986.17 They argue that
there is a strong presumption in favor of judicial review, and that in this instance there is not clear
indication that Congress intended to preclude review of more recent FFY Standardized Amounts or
the predicate facts related to the methodology for calculating the 1983 Standardized Amount.18

Board Decision:

As described more fully below, the Board finds that it lacks substantive jurisdiction over each of
the 119 groups because: (1) the initial IPPS standardized amounts set for FFY 198419 are
inextricably tied to the FFY 1984 and 1985 budget neutrality adjustments to the “applicable

13
   See Appendix A for a complete list of challenges and cases impacted. As previously noted, the challenges are all
materially identical.
14
   E.g., PRRB Case No. 19-0212G, Providers’ Response to MAC Jurisdictional Challenge at 4 (Feb. 10, 2024).
15
   Id. at 6.
16
   Id. at 8.
17
   Id. at 16.
18
   Id. at 22.
19
   The Board notes that, initially, there was not just one standardized amount. Rather there were 20 average standard
amounts per discharge according to urban/rural designation in each of the nine census divisions and the nation and each
of these 20 rates is further divided into a labor and nonlabor portion. See 48 Fed. Reg. 39752, 39763 (Sept. 1, 1983).




                                         COMPLAINT EXHIBIT 1
          Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 6 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 5

percentage increases” for IPPS20; (2) the FFY 1985 budget neutrality-adjusted rates were used to
determine the rates for FFY 1986 and, thus, became embedded into the rates determined for
subsequent FFYs; and (3) 42 U.S.C. § 1395ww(d)(7) prohibits administrative or judicial review
of the FFY 1984 and 1985 budget neutrality adjustments. Further, the fact that the Secretary’s
budget neutrality adjustment to the FY 1984 Federal Rates was 0.97021 demonstrates that,
contrary to the Providers’ assertions, the initial standardized amount was not understated but
rather was overstated by a factor of 0.030 (i.e., 1.000 – 0.970).

     A. Statutory Background on IPPS and the Standardized Amount Used in IPPS Rates

Part A of the Medicare program covers “inpatient hospital services.” Since October 1, 1983, the
Medicare program has paid most hospitals for the operating costs of inpatient hospital services
under the IPPS.22 Under IPPS, Medicare pays a prospectively-determined rate per eligible
discharge, subject to certain payment adjustments.23

In order to implement IPPS, “the statute require[d] that the Secretary determine national and
regional adjusted DRG prospective payment rates for each DRG to cover the operating costs of
inpatient hospital services.”24 The methodology for arriving at the appropriate rate structure is
located at 42 U.S.C. § 1395ww(d)(2) and “requires that certain base period cost data be
developed and modified in several specified ways (i.e., inflated, standardized, grouped, and
adjusted) resulting in 20 average standard amounts per discharge according to urban/rural
designation in each of the nine census divisions and the nation.”25 Section 1395ww(d)(2)(A)
requires that the Secretary determine a “base period” operating cost per discharge using the most
recent cost reporting period for which data are available:

                 (II) DETERMINING ALLOWABLE INDIVIDUAL HOSPITAL
                 COSTS FOR BASE PERIOD.—The Secretary shall determine the
                 allowable operating costs per discharge of inpatient hospital
                 services for the hospital for the most recent cost reporting period
                 for which data are available.

Consistent with these statutory provisions, the Secretary used Medicare hospital cost reports for
reporting periods ending in 1981 and set the 1984 “base period” operating cost per discharge
amount using the 1981 operating costs per discharge amount updated by an inflationary factor.26



20
   42 U.S.C. § 1395ww(e) is entitled “Proportional adjustments in applicable percentage increases.” The 1984 and
1985 budget neutrality adjustments are set forth is § 1395ww(e)(1)(B) which is cross-referenced for 1984 IPPS rates
at § 1395ww(d)(2)(F) and for 1985 IPPS rates at § 1395ww(d)(3)(C).
21
   In the final rule published on January 3, 1984, the Secretary revised the Federal budget neutrality adjustment
factor to 0.970. 49 Fed. Reg. 234, 334 (Jan. 3, 1984).
22
   See 42 U.S.C. § 1395ww(d)(l)-(5); 42 C.F.R. Part 412.
23
    Id.
24
   48 Fed. Reg. 39752, 39763 (Sept. 1, 1983).
25
   Id. (emphasis added).
26
   Id. at 39763-64.




                                         COMPLAINT EXHIBIT 1
          Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 7 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 6

The Providers dispute how the Secretary determined “discharges” and allege that the Secretary
improperly treated transfers as discharges for purposes of this calculation.

The Secretary then “standardized” the FFY 1984 base period operating cost per discharge using
the process prescribed at 42 U.S.C. § 1395ww(d)(2)(c). The standardization process removed
the effects of certain variable costs from the cost data, including (but not limited to) excluding
costs associated with indirect medical education costs, adjusting for variations in average
hospital wage levels, and adjusting for variations in case mix among hospitals.

The initial standardized amounts have been annually adjusted and/or updated. However,
contrary to the characterization in the D.C. Circuit’s 2011 decision in Saint Francis Med. Ctr. v.
Azar (“Saint Francis”), the standardized amount is not adjusted each year simply for inflation.27
Significantly, some of these annual adjustments were required to be budget neutral and are not
subject to administrative review and others are discretionary. In particular, 42 U.S.C.
§ 1395ww(e)(1)(B) provides the budget neutrality adjustment for “the applicable percentage
increases” to the standardized amounts for 1984 and 1985 and states, in pertinent part:

                 (e) Proportional adjustments in applicable percentage increases

                 (1) . . . .

                 (B) For discharges occurring in fiscal year 1984 or fiscal year
                 1985, the Secretary shall provide under subsections (d)(2)(F) and
                 (d)(3)(C) for such equal proportional adjustment in each of the
                 average standardized amounts otherwise computed for that fiscal
                 year as may be necessary to assure that—

                      (i) the aggregate payment amounts otherwise provided under
                      subsection (d)(1)(A)(i)(II) and (d)(5) for that fiscal year for
                      operating costs of inpatient hospital services of hospitals
                      (excluding payments made under section 1395cc(a)(1)(F) of this
                      title),

                 are not greater or less than—

                      (ii) the DRG percentage (as defined in subsection (d)(1)(C)) of
                      the payment amounts which would have been payable for such
                      services for those same hospitals for that fiscal year under this
                      section under the law as in effect before April 20, 1983
                      (excluding payments made under section 1395cc(a)(1)(F) of this
                      title).28

27
   894 F.3d 290, 291 (D.C. Cir. 2011). Saint Francis did not analyze how the standardized amount is updated
annually nor did it make specific legal holdings regarding the standardized amount.
28
   (Bold emphasis in original and italics and underline emphasis added.) The budget neutrality adjustment at 42
U.S.C. § 1395ww(e)(1)(B) is cross-referenced for 1984 at 1395ww(d)(2)(F) and for 1985 at § 1395ww(d)(3)(C).




                                         COMPLAINT EXHIBIT 1
             Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 8 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 7

The Secretary implemented the above budget neutrality provisions at 42 C.F.R. §§ 412.62(i) and
412.63(v) for the 1984 rate year and 1985 rate year respectively. Specifically, § 412.62(i) provides
the following instruction for maintaining budget neutrality for the 1984 Federal IPPS rates:

                    (i) Maintaining budget neutrality. (1) CMS adjusts each of the
                    reduced standardized amounts determined under paragraphs (c)
                    through (h) of this section as required for fiscal year 1984 so that
                    the estimated amount of aggregate payments made, excluding the
                    hospital-specific portion (that is, the total of the Federal portion of
                    transition payments, plus any adjustments and special treatment of
                    certain classes of hospitals for Federal fiscal year 1984) is not
                    greater or less than 25 percent of the payment amounts that
                    would have been payable for the inpatient operating costs for
                    those same hospitals for fiscal year 1984 under the Social
                    Security Act as in effect on April 19, 1983.

                    (2) The aggregate payments considered under this paragraph
                    exclude payments for per case review by a utilization and quality
                    control quality improvement organization, as allowed under
                    section 1866(a)(1)(F) of the Act.29

Similarly, the regulation at 42 C.F.R. § 412.63(v) provides the following instruction for
maintaining budget neutrality for the 1985 Federal rates for IPPS:

                    (v) Maintaining budget neutrality for fiscal year 1985. (1) For fiscal
                    year 1985, CMS will adjust each of the reduced standardized
                    amounts determined under paragraph (c) of this section as required
                    for fiscal year 1985 to ensure that the estimated amount of
                    aggregate payments made, excluding the hospital-specific portion
                    (that is, the total of the Federal portion of transition payments, plus
                    any adjustments and special treatment of certain classes of hospitals
                    for fiscal year 1985) is not greater or less than 50 percent of the
                    payment amounts that would have been payable for the inpatient
                    operating costs for those same hospitals for fiscal year 1985 under
                    the law as in effect on April 19, 1983.
                    (2) The aggregate payments considered under this paragraph
                    exclude payments for per case review by a utilization and quality
                    control quality improvement organization, as allowed under
                    section 1866(a)(1)(F) of the Act.30




29
     (Italics emphasis in original and bold and underline emphasis added.)
30
     (Italics emphasis in original and bold and underline emphasis added.)




                                            COMPLAINT EXHIBIT 1
            Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 9 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 8

Essentially, Congress mandated that the Secretary/CMS adjust the standardized amounts for both
1984 and 1985 to ensure that the estimated amount of aggregate payments made under IPPS was
not greater than or less than what would have been payable for inpatient operating costs for the
same hospitals under the prior reimbursement system (i.e., reasonable costs subject to TEFRA
limits). In other words, pursuant to budget neutrality, the size of the pie, expressed as average
payment per case, is prescribed by law to be no more and no less than what would have been
paid had IPPS not been implemented. Significantly, the reference points for maintaining budget
neutrality for 1984 and 1985 are external to IPPS and, thus, fixed (no greater and no less) based
on the best data available.31 Since these points are fixed, it also means that it is capped (i.e.,
cannot be increased subsequently outside of the budget neutrality adjustment).

This conclusion is supported by the fact that the normal annual inflation adjustments to the
standardized amount provided for in IPPS apply only for FY 1986 forward, as set forth in 42
U.S.C. § 1395ww(b)(3)(B)(3)(i) and cross referenced in § 1395ww(d)(3)(A). Specifically, 42
U.S.C. § 1395ww(b)(3)(B)(i) (2018) defines the term “applicable percentage increase” starting
with fiscal year 1986 (as opposed to 1984):

                    (B)(i) For purposes of subsection (d) and subsection (j) for
                    discharges occurring during a fiscal year, the “applicable
                    percentage increase” shall be—
                    (I) for fiscal year 1986, 1∕2 percent,
                    (II) for fiscal year 1987, 1.15 percent,
                    (III) for fiscal year 1988, 3.0 percent for hospitals located in a rural
                    area, 1.5 percent for hospitals located in a large urban area (as


31
     48 Fed. Reg. 39752, 39887 (Sept. 1, 1983) provides the following discussion supporting the Board’s pie concept:
           Section 1886(e)(1) of the Act requires that, for Federal fiscal years 1984 and 1985, prospective
           payments be adjusted so that aggregate payments for the operating costs of inpatient hospital
           services are neither more nor less than we estimate would have been paid under prior legislation
           for the costs of the same services. To implement this provision, we are making actuarially
           determined adjustments to the average standardized amounts used to determine Federal national
           and regional payment rates and to the updating factors used to determine the hospital-specific per
           case amounts incorporated in the blended transition payment rates for fiscal years 1984 and 1985.
           Section 1886(d)(6) of the Act requires that the annual published notice of the methodology, data
           and rates include an explanation of any budget neutrality adjustments. This section is intended to
           fulfill that requirement.
           Although, for methodological reasons, the budget neutrality adjustment is calculated on a per
           discharge basis, it should be emphasized that the ultimate comparison is between the aggregate
           payments to be made under the prospective payment system and the aggregate payments that
           would have been incurred under the prior legislation. Therefore, changes in hospital behavior
           from that which would have occurred in the absence of the prospective payment system are
           required to be taken into account in determining the budget neutrality adjustment if they affect
           aggregate payment. For example, any expectation of increased admissions beyond the level that
           would have occurred under prior law would have to be considered in the adjustment. To assist in
           making the budget neutrality adjustment for, and take account of, fiscal year 1985, HCFA will
           monitor for changes in hospital behavior attributable to the new system.




                                            COMPLAINT EXHIBIT 1
      Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 10 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 9

             defined in subsection (d)(2)(D)), and 1.0 percent for hospitals
             located in other urban areas,
             (IV) for fiscal year 1989, the market basket percentage increase
             minus 1.5 percentage points for hospitals located in a rural area,
             the market basket percentage increase minus 2.0 percentage points
             for hospitals located in a large urban area, and the market basket
             percentage increase minus 2.5 percentage points for hospitals
             located in other urban areas,
             (V) for fiscal year 1990, the market basket percentage increase
             plus 4.22 percentage points for hospitals located in a rural area, the
             market basket percentage increase plus 0.12 percentage points for
             hospitals located in a large urban area, and the market basket
             percentage increase minus 0.53 percentage points for hospitals
             located in other urban areas,
             (VI) for fiscal year 1991, the market basket percentage increase
             minus 2.0 percentage points for hospitals in a large urban or other
             urban area, and the market basket percentage increase minus 0.7
             percentage point for hospitals located in a rural area,
             (VII) for fiscal year 1992, the market basket percentage increase
             minus 1.6 percentage points for hospitals in a large urban or other
             urban area, and the market basket percentage increase minus 0.6
             percentage point for hospitals located in a rural area,
             (VIII) for fiscal year 1993, the market basket percentage increase
             minus 1.55 percentage point for hospitals in a large urban or other
             urban area, and the market basket percentage increase minus 0.55 1
             for hospitals located in a rural area,
             (IX) for fiscal year 1994, the market basket percentage increase
             minus 2.5 percentage points for hospitals located in a large urban
             or other urban area, and the market basket percentage increase
             minus 1.0 percentage point for hospitals located in a rural area,
             (X) for fiscal year 1995, the market basket percentage increase
             minus 2.5 percentage points for hospitals located in a large urban or
             other urban area, and such percentage increase for hospitals located
             in a rural area as will provide for the average standardized amount
             determined under subsection (d)(3)(A) for hospitals located in a
             rural area being equal to such average standardized amount for
             hospitals located in an urban area (other than a large urban area),
             (XI) for fiscal year 1996, the market basket percentage increase
             minus 2.0 percentage points for hospitals in all areas,
             (XII) for fiscal year 1997, the market basket percentage increase
             minus 0.5 percentage point for hospitals in all areas,



                                  COMPLAINT EXHIBIT 1
           Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 11 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 10

                   (XIII) for fiscal year 1998, 0 percent,
                   (XIV) for fiscal year 1999, the market basket percentage increase
                   minus 1.9 percentage points for hospitals in all areas,
                   (XV) for fiscal year 2000, the market basket percentage increase
                   minus 1.8 percentage points for hospitals in all areas,
                   (XVI) for fiscal year 2001, the market basket percentage increase
                   for hospitals in all areas,
                   (XVII) for fiscal year 2002, the market basket percentage increase
                   minus 0.55 percentage points for hospitals in all areas,
                   (XVIII) for fiscal year 2003, the market basket percentage increase
                   minus 0.55 percentage points for hospitals in all areas,
                   (XIX) for each of fiscal years 2004 through 2006, subject to clause
                   (vii), the market basket percentage increase for hospitals in all
                   areas; and
                   (XX) for each subsequent fiscal year, subject to clauses (viii),
                   (ix), (xi), and (xii), the market basket percentage increase for
                   hospitals in all areas.32

The “applicable percentage increase” as defined in § 1395ww(b)(3)(B) is incorporated into
§ 1395ww(d)(3)(A), as it relates to updating of the standardized amount:

                   (B) UPDATING PREVIOUS STANDARDIZED AMOUNTS.—(i) For
                   discharges occurring in a fiscal year beginning before October 1,
                   1987, the Secretary shall compute an average standardized amount
                   for hospitals located in an urban area and for hospitals located in a
                   rural area within the United States and for hospitals located in an
                   urban area and for hospitals located in a rural area within each
                   region, equal to the respective average standardized amount
                   computed for the previous fiscal year under paragraph (2)(D) or
                   under this subparagraph, increased for the fiscal year involved by
                   the applicable percentage increase under subsection (b)(3)(B).
                   With respect to discharges occurring on or after October 1, 1987,
                   the Secretary shall compute urban and rural averages on the basis
                   of discharge weighting rather than hospital weighting, making
                   appropriate adjustments to ensure that computation on such basis
                   does not result in total payments under this section that are greater
                   or less than the total payments that would have been made under
                   this section but for this sentence, and making appropriate changes
                   in the manner of determining the reductions under subparagraph
                   (C)(ii).

32
     (Emphasis added.)




                                        COMPLAINT EXHIBIT 1
       Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 12 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 11


              (ii) For discharges occurring in a fiscal year beginning on or after
              October 1, 1987, and ending on or before September 30, 1994, the
              Secretary shall compute an average standardized amount for
              hospitals located in a large urban area, for hospitals located in a rural
              area, and for hospitals located in other urban areas, within the United
              States and within each region, equal to the respective average
              standardized amount computed for the previous fiscal year under this
              subparagraph increased by the applicable percentage increase under
              subsection (b)(3)(B)(i) with respect to hospitals located in the
              respective areas for the fiscal year involved.

              (iii) For discharges occurring in the fiscal year beginning on
              October 1, 1994, the average standardized amount for hospitals
              located in a rural area shall be equal to the average standardized
              amount for hospitals located in an urban area. For discharges
              occurring on or after October 1, 1994, the Secretary shall adjust
              the ratio of the labor portion to non-labor portion of each average
              standardized amount to equal such ratio for the national average of
              all standardized amounts.

              (iv)(I) Subject to subclause (II), for discharges occurring in a fiscal
              year beginning on or after October 1, 1995, the Secretary shall
              compute an average standardized amount for hospitals located in a
              large urban area and for hospitals located in other areas within the
              United States and within each region equal to the respective
              average standardized amount computed for the previous fiscal year
              under this subparagraph increased by the applicable percentage
              increase under subsection (b)(3)(B)(i) with respect to hospitals
              located in the respective areas for the fiscal year involved.

              (II) For discharges occurring in a fiscal year (beginning with fiscal
              year 2004), the Secretary shall compute a standardized amount for
              hospitals located in any area within the United States and within each
              region equal to the standardized amount computed for the previous
              fiscal year under this subparagraph for hospitals located in a large
              urban area (or, beginning with fiscal year 2005, for all hospitals in the
              previous fiscal year) increased by the applicable percentage increase
              under subsection (b)(3)(B)(i) for the fiscal year involved.

Thus, while 42 U.S.C. § 1395ww(d)(2) provides the methodology for calculating the
standardized amount to be used for each year, and that the amount is subject to the “applicable
percentage increase” under subsection (b)(3)(B) for years after 1984, it remains that it is not
always a simple inflationary or market basket adjustment. In particular, the FFY 1984 and 1985
budget neutrality adjustments (as referenced in § 1395ww(d)(2)(F) and in § 1395ww(d)(3)(C))



                                   COMPLAINT EXHIBIT 1
        Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 13 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 12

were the applicable percentage increases for FFYs 1984 and 1985 and, as described below, those
adjustments are not administratively reviewable. Further, as discussed infra, it is clear that the
Secretary has interpreted 42 U.S.C. § 1395ww(d)(3)(A)(i) to require the FFY 1985 budget
neutrality-adjusted rates be used in determining the rates for FFY 1986 and subsequent FFYs.
This is reflected in the following excerpt from 42 C.F.R. § 405.473(c) as initially adopted in the
September 3, 1983 final rule:

               (c) Federal rates for fiscal years after Federal fiscal year 1984.

                                                ****

               (2) Updating previous standardized amounts.

               (i) For fiscal year 1985. HCFA will compute an average
               standardized amount for each group of hospitals described in
               paragraph (b)(5) of this section . . . equal to the respective adjusted
               average standardized amount computed for fiscal year 1984 under
               paragraph (b)(7) of this section—

               (A) Increased for fiscal year 1985 by the applicable percentage
               increase under § 405.463(c);

               (B) Adjusted by the estimated amount of Medicare payment for
               nonphysician services furnished to hospital inpatients that would
               have been paid under Part B were it not for the fact that such
               services must be furnished either directly by hospitals or under
               arrangements;

               (C) Reduced by a proportion equal to the proportion (estimated by
               HCFA) of the total amount of prospective payments which are
               additional payment amounts attributable to outlier cases
               under § 405.475; and

               (D) Adjusted for budget neutrality under paragraph (c)(4) of
               this section.

               (ii) For fiscal year 1986 and thereafter, HCFA will compute an
               average standardized amount for each group of hospitals
               described in paragraph (b)(5) of this section, equal to the
               respective adjusted average standardized amounts computed
               for the previous fiscal year—

               (A) Increased by the applicable percentage increase determined
               under paragraph (c)(3) of this section; and




                                    COMPLAINT EXHIBIT 1
         Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 14 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 13

                 (B) Adjusted by the estimated amount of Medicare payment for
                 nonphysician services furnished to hospital inpatients that would
                 have been paid under Part B were it not for the fact that such
                 services must be furnished either directly by hospitals or under
                 arrangements.

                 (C) Reduced by a proportion equal to the proportion (estimated by
                 HCFA) of the amount of payments based on the total amount of
                 prospective payments which are additional payment amounts
                 attributable to outlier cases under § 405.475.

                 (3) Determining applicable percentage changes for fiscal year 1986
                 and following. The Secretary will determine for each fiscal year
                 (beginning with fiscal year 1986) the applicable percentage change
                 which will apply for purposes of paragraph (c)(2)(ii) of this section
                 as the applicable percentage increase for discharges in that fiscal
                 year, and which will take into account amounts the Secretary
                 believes necessary for the efficient and effective delivery of
                 medically appropriate and necessary care of high quality. In making
                 this determination, the Secretary will consider the recommendations
                 of the Prospective Payment Assessment Commission.33

33
   48 Fed. Reg. at 39823 (italics emphasis in original and bold and underline emphasis added). This provision was
later moved to 42 C.F.R. § 412.63(c)(2022) which states in pertinent part:
         (c) Updating previous standardized amounts.
                                                          ****
         (2) Each of those amounts is equal to the respective adjusted average standardized amount
         computed for fiscal year 1984 under §412.62(g)—
         (i) Increased for fiscal year 1985 by the applicable percentage increase in the hospital market
         basket;
         (ii) Adjusted by the estimated amount of Medicare payment for nonphysician services furnished to
         hospital inpatients that would have been paid under Part B were it not for the fact that such
         services must be furnished either directly by hospitals or under arrangements;
         (iii) Reduced by a proportion equal to the proportion (estimated by CMS) of the total amount of
         prospective payments that are additional payment amounts attributable to outlier cases under
         subpart F of this part; and
         (iv) Adjusted for budget neutrality under paragraph (h) of this section.
         (3) For fiscal year 1986 and thereafter. CMS computes, for urban and rural hospitals in the
         United States and for urban and rural hospitals in each region, average standardized amount equal
         to the respective adjusted average standardized amounts computed for the previous fiscal
         year—
         (i) Increased by the applicable percentage increase determined under paragraphs (d) through (g) of
         this section;
         (ii) Adjusted by the estimated amount of Medicare payment for nonphysician services furnished to
         hospital inpatients that would have been paid under Part B were it not for the fact that such
         services must be furnished either directly by hospitals or under arrangements; and
         (iii) For discharges occurring on or after October 1, 1985 and before October 1, 1986, reduced by
         a proportion (estimated by HCFA) of the amount of payments based on the total amount of




                                         COMPLAINT EXHIBIT 1
         Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 15 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 14

B. Jurisdictional Findings -- 42 U.S.C. § 1395ww(d)(7)(A) Precludes Administrative Review
   of the Base Year Standardized Amounts

The Providers essentially are challenging the standardized amount used in the IPPS rates for
several FFYs claiming that the Secretary improperly treated transfers as discharges when using
1981 cost report data to determine the initial FFY 1984 base cost per discharge which, in turn,
was standardized to arrive at the FFY 1984 standardized amounts. More specifically, the
Providers maintain that, the understatement of the standardized amount in the FFY 1984 IPPS
Final Rule caused a corresponding underpayment in IPPS payments in FFY 1984 and every FFY
thereafter because the standardized amount for all IPPS payments for every FFY are based on
CMS’s calculation of the FFY 1984 standardized amount.34

The published standardized amount for each FFY in these appeals reflects the prior year’s
standardized amount plus “the applicable percentage increase” as provided in 42 U.S.C.
§ 1395ww(b)(3)(B)(i) (as referenced in 42 U.S.C. § 1395ww(d)(3)(A)) as well as other potential
adjustments. Significantly, the “applicable percentage increase[s]” for 1984 forward are not
always simply a cost inflation adjustment or other similar percentage adjustment. To this point,
for the first two (2) years of IPPS, Congress mandated that the budget neutrality adjustments for
FFYs 1984 and 1985 serve as the “applicable percentage increase” for those years. As a result,
the IPPS rates that the Secretary used for the very first year of IPPS and then the second year of
IPPS were adjusted for budget neutrality. For FFYs 1986 and forward, Congress provided for an
“applicable percentage increase” in 42 U.S.C. § 1395ww(b)(3)(B)(i) as referenced in 42 U.S.C.
§ 1395ww(d)(3)(A). In addition, there are other permanent adjustments (i.e., adjustments not for
that year only but that also apply on a going-forward basis) to the standardized amount that have
occurred in other years outside of the “applicable percentage increase.”35 Thus, the standardized
amount for a particular year is an amalgamation that builds upon the prior year’s standardized
amount and then adds additional adjustments for the current year. As noted supra and discussed
more infra, the Secretary has used the FFY 1985 budget neutrality-adjusted rates for
determining the FFY 1986 rates and those for subsequent FFYs.

The Providers are, essentially, seeking to peel back the amalgamated standardized amount for each
applicable FFY and, thus, reach back more than 30 years to increase the initial FFY 1984 base
rate that was used to set the initial FFY 1984 standardized amounts. They would then incorporate
the alleged increased base rate into the FFY 1984 standardized amounts and then simply carry or
flow that increase forward 35 years. However, in order to peel the amalgamated standardized
amounts for the FFYs at issue (singular36) as used in the IPPS rates for each FFY back to the

          prospective payments that are additional payment amounts attributable to outlier cases under
          subpart F of this part, and for discharges occurring on or after October 1, 1986, reduced by a
          proportion (estimated by HCFA) of the amount of payments that, based on the total amount of
          prospective payments for urban hospitals and the total amount of prospective payments for rural
          hospitals, are additional payments attributable to outlier cases in such hospitals under subpart F of
          this part.
34
   See e.g., PRRB Case No. 19-0212G, Providers’ Response to MAC Jurisdictional Challenge at 21 (Feb. 10, 2024).
35
   See Appendix B.
36
   See supra note 19 accompanying text.




                                        COMPLAINT EXHIBIT 1
         Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 16 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 15

initial standardized amounts (plural37) used in FFY 1984, and then carry/flow any change forward
to the FFY at issue, the Providers would have to pass through the FFY 1984 and 1985 budget
neutrality adjustments which were the only “applicable percentage increase[s]” for those years.
However, they cannot do so because the budget neutrality adjustments had the effect of fixing the
pie for FFYs 1984 and 1985 to (i.e., no more and no less than) the aggregate amounts that would
have been paid had IPPS not been implemented.38 More specifically, the amalgamated
standardized payment amount for each FFY at issue reflects the fixed FFY 1985 budget neutrality
adjustment (and not the initial FFY 1984 standardized amount since the standardized amounts for
FFYs 1984 and 1985 were each adjusted for budget neutrality and became fixed for purposes of
subsequent years as a result of those budget neutrality adjustments). Thus, in the Board’s view, the
Providers cannot get back to the FFY 1984 standardized amounts without first passing through the
FFY 1984 and 1985 budget neutrality adjustments. Regardless, the Providers would not be able to
flow forward any adjustments made to the FFY 1984 standardized amounts to FFYs after FFY
1985 because:

                 (1) they, again, would not be able to get through the FFY 1984 and
                 1985 budget neutrality adjustments that Congress otherwise fixed
                 to an external point (no greater and no less); and

                 (2) the IPPS rates paid for FFYs 1984 and 1985 are based on
                 standardized amounts that were adjusted downwards as a result of
                 the budget neutrality adjustment for FFY 1984 and also for FFY
                 1985 (see discussion below in Sections B.1 and B.2).39

37
   See id.
38
   See, e.g., 48 Fed. Reg. 39752, 39805 (Sept. 1, 1983) (stating: “Hospital Impact—During its first two years,
aggregate payments under the prospective payment system will be adjusted, in accordance with Section 1886(e)(1) of
the Act, to be “budget neutral"; that is, so that aggregate payments under the prospective payment system, including
outlier payments, exceptions, and adjustments, will be neither more nor less than the estimated payment amounts to
affected hospitals that would have resulted under the Social Security Act as in effect before April 20,1983.”).
39
   Indeed, the FY 1986 IPPS Final Rule included an example where the Secretary recognized an adjustment to the budget
neutrality adjustments would be impacted by the removal of nurse anesthetists costs and confirmed that the adjustments
to the standardized amounts had already taken this removal into account:
        c. Nonphysician anesthetist costs. In the August 31, 1984 final rule, we implemented section 2312 of
        Pub. L. 98-369, which provided that hospital costs for the services of nonphysician anesthetists will
        be paid in full as a reasonable cost pass-through for cost reporting periods beginning before October
        1, 1987.
        We did not directly reduce the FY 1985 Federal rates to exclude the estimated costs of these services,
        because any required adjustment would be incorporated in the budget neutrality adjustment factors
        applied to the national and regional standardized amounts. (See 49 FR 34794; August 31, 1984). Since
        the FY 1986 standardized amounts are derived from an update of the FY 1985 amounts, which were
        adjusted for budget neutrality, the rates will automatically include the appropriate adjustment. We are
        not making further adjustments to the Federal rates for this factor for either FY 1986 or FY 1987.
50 Fed. Reg. at 35708 (emphasis added). See also 52 Fed. Reg. 33034, 33064 (Sept. 1, 1987) (stating: “In the
September 3, 1985 final rule, we noted that to the extent an adjustment was warranted to reflect the removal of these
costs from the prospective payment rates for FY 1985, it was incorporated in the overall budget neutrality
adjustment (50 FR 35708). Therefore, because this adjustment has already been built into the FY 1985 base from
which the FY 1986, FY 1987, and proposed FY 1988 rates are derived, we did not propose to make further
adjustments to the average standardized amounts for FY 1988.”).




                                         COMPLAINT EXHIBIT 1
         Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 17 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 16

Accordingly, the Board finds that the Providers challenge to the standardized amounts at issue
are inextricably tied to the budget neutrality adjustments made for FFY 1984 and 1985.40

Furthermore, Congress has precluded Board (and judicial) review of the FFY 1984 and 1985
budget neutrality adjustments. Specifically, 42 U.S.C. § 1395ww(d)(7)(A) precludes
administrative and juridical review of the neutrality adjustment at § 1395ww(e)(1):

                  (7) There shall be no administrative or judicial review under
                  section 1395oo of this title or otherwise of—

                  (A) the determination of the requirement, or the proportional
                  amount, of any adjustment effected pursuant to subsection (e)(1) or
                  the determination of the applicable percentage increase under
                  paragraph (12)(A)(ii), . . .41

Similarly, the statute governing Board appeals is located at 42 U.S.C. § 1395oo and states in
subsection (g)(2):

                  The determinations and other decisions described in section
                  1395ww(d)(7) of this title shall not be reviewed by the Board or by
                  any court pursuant to an action brought under subsection (f) or
                  otherwise.

Since the FFY 1984 and 1985 budget neutrality adjustments are based on an external, fixed
reference point (i.e., no greater and no less than the reference point) and are not reviewable, the




40
   The Board notes that the D.C. Circuit’s decision in Saint Francis is not applicable to the 1984 and 1985 budget
neutrality adjustments given the statutory provision precluding administrative and judicial review of those
adjustments. Further, Saint Francis did not analyze how the standardized amount is updated annually nor did it
make specific legal holdings regarding the standardized amount.
41
   With regard to implementing this statutory provision, 48 Fed. Reg. 39752, 39785 (Sept. 1, 1983) states:
          Section 1886(d)(7) of the Act precludes administrative and judicial review of the following:
           —A determination of the requirement, or the proportional amount, of any “budget neutrality”
          adjustment effected under section 1886(e)(1) of the Act; or
          —The establishment of DRGs, of the methodology for the classification of hospital discharges
          within DRGs, or of the appropriate weighting factors of DRGs under section 1886(d)(4) of the cost.
          It was the clear intent of Congress that a hospital would not be permitted to argue that the level of
          the payment that it receives under the prospective payment system is inadequate to cover its costs.
          Thus, as discussed above, neither the definition of the different DRGs, their weight in relation to
          each other, nor the method used to assign discharges to one of the groups is to be reviewable.
          However, if there is an error in the coding of an individual patient’s case, review would be
          permitted. (See the Report of the Committee on Ways and Means on H.R. 1900, H. Report No. 98-
          25, (98th Cong., 1st Sess.) 143 (1982).) As noted below, we believe the appropriate review
          concerning coding errors should be conducted by the entity (i.e., the PSRO/PRO or fiscal
          intermediary) which made the initial determination.




                                          COMPLAINT EXHIBIT 1
         Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 18 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 17

Board finds that the FFYs 1984 and 1985 budget neutrality adjustments effectively fixed the
standardized amounts that point forward for use in the IPPS system.42

Indeed, the Secretary’s implementation of the fixed FFY 1984 and 1985 budget neutrality
adjustments confirms that the Providers’ allegation that the standardized rates for each FFY at
issue are somehow understated due to alleged errors in the FFY 1984 base rate is moot.

     1. The Secretary determined that the initial standardized amounts for FFY 1984 were too
        high and, therefore, reduced the FFY 1984 standardized amounts through the FFY 1984
        budget neutrality adjustment as reflected in the final FFY 1984 IPPS rates.

In the interim final rule published on September 1, 1983, the Secretary issued a FFY 1984 budget
neutrality adjustment to the FFY 1984 standardized amounts of 0.969:

                  Section 1886(e)(1) of the Act requires that the prospective
                  payment system result in aggregate program reimbursement equal
                  to “what would have been payable” under the reasonable cost
                  provisions of prior law; that is, for fiscal years 1984 and 1985, the
                  prospective payment system should be “budget neutral.”

                  Under the Amendments, the prospective payment rates are a blend
                  of a hospital-specific portion and a Federal portion. Section
                  1886(e)(1)(A) of the Act requires that aggregate payments for the
                  hospital specific portion should equal the comparable share of
                  estimated reimbursement under prior law. Similarly, section
                  1886(e)(1)(B) of the Act requires that aggregate
                  reimbursement for the Federal portion of the prospective
                  payment rates plus any adjustments and special treatment of
                  certain classes of hospitals should equal the corresponding
                  share of estimated outlays prior to the passage of Pub. L. 98--
                  21. Thus, for fiscal year 1984, 75 percent of total projected
                  reimbursement based on the hospital-specific portion should equal
                  75 percent of total estimated outlays under law as in effect prior to
                  April 20, 1983. Likewise, total estimated prospective payment
                  system outlays deriving from the 25 percent Federal portion,
                  including adjustments and special payment provisions, should
                  equal 25 percent of projected reimbursement under prior laws.

                  The adjustment of the Federal portion was determined as
                  follows:


42
  See, e.g., 48 Fed. Reg. 39752, 39765 (Sept. 1, 1983) (stating “We point out that aside from being technically
desirable, the effect of standardizing nonlabor hospital costs in Alaska and Hawaii is to decrease the reduction for
budget neutrality stemming from the requirements in section 1886(e)(1)(B) of the Act.”).




                                           COMPLAINT EXHIBIT 1
            Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 19 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 18

                     Step 1—Estimate total incurred payments for inpatient hospital
                    operating costs for fiscal year 1984 that would have been made on
                    a reasonable cost basis under Medicare prior to Pub. L. 98-21.
                     Step 2—Multiply total incurred payments by 25 percent, i.e., the
                    Federal portion of total payment amounts for fiscal year 1984.
                     Step 3—Estimate the Federal portion of total payments that
                    would have been made without adjusting for budget neutrality, but
                    with the adjustment for outlier payments.
                     Step 4—Add an estimate of total adjustments and payments
                    under special payment provisions to the Federal portion (e.g.,
                    outliers, indirect medical education).
                     Step 5—The difference between the step 2 and step 4 amounts is
                    divided proportionally among the standardized amounts, resulting
                    in the budget neutrality adjusted (standardized) amounts.

                    The resulting adjustment factor for the fiscal year 1984 Federal
                    portion is .969. Payment amounts of hospitals excluded from the
                    prospective payment system (e.g., psychiatric and children’s
                    hospitals) and of hospitals not participating in prospective payment
                    because of their participation in demonstrations and studies were
                    not included in the calculations above.43

In the final rule published on January 3, 1984, the Secretary revised the Federal budget neutrality
adjustment factor to 0.970 using the same methodology.44 Significantly, in the January 1984
final rule, the Secretary suggests that, in calculating the budget neutrality adjustment factor,
CMS made no attempt to adjust for transfers under IPPS:

                    Regarding additional adjustments recommended by commenters, we
                    made no adjustments to either the adjusted standardized amounts or to
                    the budget neutrality estimates for conditions that could not be
                    quantified on the basis of currently available data, even if there were a
                    likelihood that these conditions might exist under prospective payment.
                    For example, no adjustment was made for the likelihood that
                    admissions would increase more rapidly under prospective payment
                    than under the provisions of Pub. L. 97-248, or for costs that might be
                    disallowed as a result of audit or desk review by the intermediaries.
                    Likewise, we made no attempt to quantify adjustments for the




43
     48 Fed. Reg. 39752, 39840-41 (Sept. 1, 1983) (bold, underline emphases added, and italics emphasis in original).
44
     49 Fed. Reg. 234, 334 (Jan. 3, 1984).




                                            COMPLAINT EXHIBIT 1
         Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 20 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 19

                  likelihood of transfers under prospective payment, emergency room
                  services, and disallowed costs which are successfully appealed.45

Accordingly, while the Providers did not appeal the budget neutrality adjustment, the above
excerpt suggests that the Providers’ concern about the Secretary’s alleged mistreatment of
transfers may be misplaced and that the treatment of transfers in the in the context of the budget
neutrality adjustment for FFY 1984 may have more significance.

Finally, the Secretary also declined to increase the base standardized amount to reflect the increased
costs associated with the shift in costs of hospital-based physician services from Part B to Part A, as
suggested in a comment. The Secretary noted that such an increase would simply be offset or
neutralized by a corresponding increase in the budget neutrality adjustment for FFY 1984:

                  Finally, applying such an adjustment to the average standardized
                  amounts (and, by extension, to the per case budget neutrality
                  estimates of Federal rate payments) would not actually increase the
                  level of payments under budget neutrality. If we were to increase the
                  initial standardized amounts to reflect this shift, the budget neutrality
                  adjustment factor would have to be recalculated, would accordingly
                  be increased, and the net result would be virtually identical. As a
                  result, such an adjustment would have no effect on payment levels
                  during FYs 1984 and 1985, which are subject to budget neutrality.46

Regardless, the Secretary’s application of a 0.970 budget neutrality adjustment factor to the FFY
1984 standardized amounts for the Federal rates confirms that these standardized rates were too
high and were reduced by a factor of 0.030. Thus, the final IPPS payment rates as used for the first
year of IPPS (i.e., FFY 1984), as finalized on January 3, 1984, reflect the Secretary’s FFY 1984
budget neutrality adjustment. Moreover, as previously noted, since the FFY 1984 budget neutrality
adjustment is based on an external, fixed reference point (i.e., no greater and no less than the
reference point) and is not reviewable, the FFY 1984 budget neutrality adjustment effectively fixed
the standardized amounts for FFY 1984 as used from that point forward (i.e., as used both for the
FFY 1984 IPPS payment rates and for subsequent years).

     2. The FFY 1985 budget neutrality adjustment also reduced the FFY 1985 standardized
        amounts, reaffirming that the Secretary’s determined that the initial standardized
        amounts for FFY 1984 were set too high.

45
   Id. at 255 (Emphasis added.) See also id. at 331 (stating as part of the discussion on the budget neutrality
adjustments: “The Tax Equity and Fiscal Responsibility Act of 1982 (TEFRA) established a DRG-adjusted limit on
the allowable amount of inpatient operating costs per case and a per case limit on the rate of increase of operating costs
of inpatient hospital services. Due to these per case limits, the incentives that influence hospital admission patterns are
similar under TEFRA and prospective payment. Accordingly, we have assumed that the number of admissions under
both prior law and the prospective payment system will be the same. As a result, the budget neutrality factors can be
calculated by comparing reimbursement per discharge for each of the systems, and there is no need to estimate an
actual number of hospital admissions.” (emphasis added)).
46
   Id. at 255.




                                           COMPLAINT EXHIBIT 1
         Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 21 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 20


For FFY 1985, the Secretary applied a budget neutrality adjustment of 0.954 to the standardized
amounts used for the Federal national rates and 0.950 to the standardized amounts used for the
regional rates. The Secretary described these adjustments as follows:

                  In accordance with section 1886(e)(1) of the Act, the prospective
                  payment system should result in aggregate program reimbursement
                  equal to “what would have been payable” under the reasonable
                  cost provisions of prior law; that is, for FYs 1984 and 1985, the
                  prospective payment system must be “budget neutral”.

                  During the transition period, the prospective payment rates are a
                  blend of a hospital-specific portion and a Federal portion.
                  Further, effective October 1,1984, the Federal portion will be a
                  blend of national and regional rates. As a result, we must
                  determine three budget neutrality adjustments— one each for both
                  the national and regional rates, and one for the hospital-specific
                  portions. The methodology we are using to make these adjustments
                  is explained in detail in section V. of this addendum.

                  Based on the data available to date, we have computed the
                  following Federal rate budget neutrality adjustment factors:

                  Regional—.950
                  National—.95447
                                                          ****
By finalizing an adjustment factor less than 1, the Secretary confirmed that the standardized
amounts were too high. Thus, like her budget neutrality adjustments made for FFY 1984, the
Secretary again confirmed that the standardized amounts were too high and exercised her
discretion to reduce the standardized amounts to be used in the final FFY 1985 IPPS rates.48

     3. The Secretary has applied the FFY 1985 budget neutrality-adjusted rates to FFY 1986
        and subsequent years.

For FFY 1986, the Secretary confirmed that she used the FFY 1985 budget neutrality adjusted
federal rates as the basis for determining the FFY 1986 federal rates:

47
  49 Fed. Reg. 34728, 34769 (Aug. 31, 1984).
48
  In the preamble to the FFY 1985 Final Rule, the Secretary “noted that most of the data that the budget neutrality
adjustment is based on has already been made available [to the public]. We believe that these data in conjunction
with the explanation of the budget neutrality methodology presented in the NPRM (49 FR 27458) should enable
individuals to replicate the adjustment factors. . . . In addition, we believe the lengthy and detailed description of the
data and the development of rates contained in the Federal Register, along with the many examples furnished,
afford the reader all the information necessary for an understanding of the prospective payment system. Those
individuals, hospitals, or associations desiring additional data and other material, either for verification of rates or
for other purposes, may request this date under the Freedom of Information Act.” 49 Fed. Reg. at 34771.




                                            COMPLAINT EXHIBIT 1
         Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 22 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 21



                  [T]he FY 1985 adjusted average standardized amounts (Federal
                  rates) were required by law to be adjusted to achieve budget
                  neutrality; that is, to ensure that aggregate payments for the
                  operating costs of inpatient hospital services would be neither
                  more nor less than we estimated would have been paid under
                  prior legislation for the costs of the same services. (The technical
                  explanation of how this adjustment was made was published in the
                  August 31, 1984 final rule (49 FR 34791).) These budget
                  neutrality-adjusted rates for FY 1985 are then to be used as the
                  basis for the determination of rates for later years.

                  Our FY 1985 budget neutrality adjustment factors were based on
                  data and assumptions that resulted in standardized amounts that
                  were higher than necessary to achieve budget neutrality.
                  Therefore, we have updated the FY 1985 standardized amounts
                  using a factor that takes into account the overstatement of the FY
                  1985 amounts to ensure that accuracy of the FY 1986
                  standardized amounts. To this end, we have identified several
                  factors, discussed in section III.A.3.c., below, that contributed to
                  the overstatement of the FY 1985 standardized amounts. We have
                  determined an appropriate percent value for each of them, and
                  have combined them into a proposed composite correction factor
                  for FY 1986 that equals —7.5 percent.49

Significantly, in the above excerpt, the Secretary further confirmed that “[t]hese budget
neutrality-adjusted rates for FY 1985 are then to be used as the basis for the determination of
rates for later years.”50 While it is true that the implementation of these rates for FFY 1986
were delayed by Congressional action extending the FFY 1985 rates through April 30, 1986 (as
discussed further in Appendix B), the Secretary confirmed that it used the rates published in the
FFY 1986 IPPS Final Rule plus a 1.0 percent modification specified by Congress:

                  Section 9101(a) of Pub. L. 99-272 amends section 5(c) of Pub. L.
                  99-107 to extend the FY 1985 inpatient hospital prospective
                  payment rates through April 30,1986. Therefore, the DRG
                  classification changes and recalibrated DRG weights that were set


49
   50 Fed. Reg. 35646, 35695 (Sept. 3 1985) (emphasis added). See also 49 Fed. Reg. at 34767 (stating “We believe
the explicit language of section 2310 of Pub. L. 98-369 and section 1886(d)(3)(A) of the Act requires a reduction in
the standardized amounts used to compute the Federal rates before adjusting for budget neutrality. . .. Thus, while
the Federal rates. . .. have been reduced in this final rule to reflect the inflation factor prescribed by section 2310 of
Pub. L. 98-369, we point out that the offset for budget neutrality has also been adjusted. The reduction in the
regional and national standardized rates . . . attributable to section 2310 of Pub. L. 98-369 is entirely due to the
revised budget neutrality adjustments for 1984 and 1985.”).
50
   Id. (emphasis added).




                                            COMPLAINT EXHIBIT 1
         Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 23 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 22

                 forth in the September 3,1985 final rule (50 FR 35722) are
                 effective for discharges occurring on or after May 1, 1986.
                                                 ****
                 In accordance with the provisions of section 9101(b) and (e) of
                 Pub. L. 99-272, the adjusted standardized amounts that were
                 published in the September 3,1985 final rule (which reflected a
                 zero percent update) are updated by one-half of one percent
                 effective for discharges on or after May 1,1986. The revised
                 standardized amounts are set forth in Table 1, below.51

Significantly, a glaring gap in the Providers’ response to the Medicare Contractor’s
jurisdictional challenge is their failure discuss or even recognize how the Secretary interpreted
and applied the FFY 1985 budget neutrality adjustment.

The Board has set forth in Appendix C excerpts from the preambles of other final rules to
provide additional contexts in which the Secretary confirmed that the FFY 1985 budget
neutrality-adjusted rates applied to later years. Thus, regardless of how the Providers contend
the Medicare statute should be interpreted relative to the 1985 budget neutrality adjustment, it is
clear that:

     1. The Secretary herself interpreted those provisions as requiring the application of the FFY
        1985 budget neutrality-adjusted rates to later years; and

     2. The FFY 1985 budget neutrality-adjusted rates are the basis for the rates used in FFY
        1986 forward through to the years at issue.

Accordingly, the Board finds that the Providers’ issue is inextricably tied, at a minimum, to the
FFY 1985 budget neutrality adjustments.
                                         * * * * *
In summary, the Providers confirm that they do not seek to challenge the FFY 1984 or 1985
IPPS payments or the associated FFY 1984 and 1985 budget neutrality adjustments, but rather
“are challenging an entirely separate factor in the calculation of the DRG Payment Amounts (i.e.,
the base rate calculation of the standardized amount). . .”52 They also claim that the Budget
Neutrality Preclusion Provisions are not applicable here because they only bar administrative and
judicial review of a narrow category of challenges to the Secretary’s determination of the
requirement, or the proportional amount, of any budget neutrality adjustment effected pursuant to
42 U.S.C. § 1395ww(e)(1) in FFYs 1984 and 1985.53

The Board disagrees and finds that it lacks substantive jurisdiction over the issue raised in these
appeals because the prospectively-set standardized amounts used for IPPS rates for FFYs 1984 and

51
   87 Fed. Reg. 16772, 16773 (May 6, 1986).
52
   Case No. 19-0212G et al., Providers’ Response to MAC Jurisdictional Challenge at 21.
53
   See e.g., id. at 7.




                                         COMPLAINT EXHIBIT 1
         Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 24 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 23

FFY 1985 are each based on the budget neutrality adjustment made for that FFY and the 1984 and
1985 budget neutrality adjustments are presumably designed to be corrective of the initial base rate
that was set using 1981 data.54 Therefore, the final FFY 1984 and 1985 standardized amounts are
inextricably intertwined with those applicable budget neutrality adjustments.55 Indeed, the
Secretary applied a budget neutrality adjustment to those years to reduce the standardized amounts
by factors of approximately 0.03 for FFY 1984 and 0.05 for FFY 1985 and, thus, these budget
neutrality adjustments appear to have already automatically accounted for any such alleged errors
in setting the initial base rate (which again was based on 1981 data).56 Because the FFY 1985
budget neutrality-adjusted rate was used/flowed forward for determining FFY 1986 rates and the
rates for subsequent FFYs and because 42 U.S.C. 1395ww(d)(7) prohibits administrative or
judicial review of the FFY 1984 and 1985 budget neutrality adjustments and the resulting final
standardized amount for FFY 1985 was carried/flowed forward to FFY 1986 and succeeding
FFYs, the Board may not review the standardized amount used for the FFYs being appealed as it
relates to the common issue in these appeals. In this regard, the Board again notes that the rates for

54
   The Board has included at Appendix B examples of other adjustments to the standardized amounts that have occurred
outside of the FFY 1984 and 1985 budget neutrality adjustments. These intervening adjustments for FFYs 1986 and
2018 include both mandatory and discretionary revisions to the standardized amounts (as well as the Congress’
decisions to revise or not revise the “applicable percentage increases” for FFYs 1986 and forward as provided in 42
U.S.C. § 1395ww(b)(3)(B)(i)) and highlight the complexity of the issue before the Board, particularly where such
adjustments were made in a budget neutral manner or were based on factoring in certain other estimated impacts
55
   See DCH Reg’l Med. Ctr. v. Azar, 925 F.3d 503, 507 (D.C. Cir. 2019) (“We cannot review the Secretary’s method of
estimation without also reviewing the estimate. And because the two are inextricably intertwined, section
1395ww(r)(3)(A) precludes review of both.”); Mercy Hosp., Inc. v. Azar, 891 F.3d 1062, 1067 (D.C. Cir. 2018) (“As
both a textual and a practical matter, the LIP adjustment is inextricably intertwined with the step-two rate, and so the
shield that protects the step-two rate from review protects the LIP adjustment as well.”); Yale New Haven Hosp. v.
Becerra, 56 F.4th 9, 18 (2nd Cir. 2022) (“Thus, we join the D.C. Circuit in “reject[ing] the argument that ‘an “estimate”
is not the same thing as the “data” on which it is based.’” DCH Reg'l Med. Ctr. v. Azar . . . . We also adopt the D.C.
Circuit's holding that “[i]n this statutory scheme, a challenge to the [Secretary's choice of what data to include and
exclude] for estimating uncompensated care is ... a challenge to the estimates themselves. The statute draws no
distinction between the two.” Id. at 506. Indeed, the statutory text of section 1395ww(r)(2)(C)(i) explicitly and
affirmatively defines the statutory term “estimate[ ]” to encompass “the Secretary[’s] determin[ation]” of what data is
the “be[st] proxy for the costs of [qualifying] hospitals for treating the uninsured” and, ultimately, of what data to “use”
or not “use.” 42 U.S.C. § 1395ww(r)(2)(C)(i).” (citations partially omitted)). Similarly, the Board notes that the Board
erred in finding that it had jurisdiction in Columbia/HCA 1984-1986 PPS Federal Rate/Malpractice Group v. Blue
Cross & Blue Shield Ass’n, PRRB Dec. 2000-D74 (Aug. 18, 2000). In that decision, the Board found that “the issue in
this case, whether the federal portion of the PPS rates should be adjusted because it was based on 1981 hospital cost
report data which incorporated an invalid 1979 Malpractice Rule, does not fall into either [of the] limitations on Board
jurisdiction [at 42 U.S.C. §§ 1395ww(d)(7) or 1395oo(g)(2)]. The Board finds that it can determine whether the existing
statute and regulations concerning the establishment of the federal portion of the PPS rate require or permit retroactive
adjustments.” Id. at 16. The Board further found that “the retroactive adjustment proposed by the Provider would
increase the federal portion of the PPS rates and therefore require some adjustment to be made to maintain budget
neutrality. 42 U.S.C. § 1395ww(e) and 42 C.F.R. § 412.63(j)” but that “[b]ecause the Board has determined that the
adjustments are not required, how those adjustments would be made are moot, and in any event would not be subject to
review by the Board. 42 C.F.R. § 405.1804(a).” Id. at 18 (Emphasis added.) While the Board’s 2000 decision got it
right that the FFY 1984 budget neutrality provision is implicated and precluded from administrative review, the above
case law demonstrates that the Board erred in finding it could review the FY 1984 standardized amounts. Rather, the
case law (as well as the Board’s discussion herein) demonstrates that any adjustment to the FFY 1984 standardized
amounts would be inextricably tied to the ensuing budget neutrality adjustments made for FFYs 1984 and 1985.
56
   See supra note 39 (discussing how the removal of nurse anesthetists costs were removed from IPPS and how that
removal was automatically accounted for as part of the 1985 budget neutrality adjustment).




                                           COMPLAINT EXHIBIT 1
            Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 25 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 24

FFY 1986 and subsequent years are based on the budget neutrality adjusted FFY 1985 rates and
the Providers may not simply pass through, or over, the budget neutrality adjustments for FFYs
1984 and 1985, for purpose of future FFYs, because those adjustments are tied to an absolute
external event (the Secretary’s estimate, based on the best available data, of what would have been
paid for those years if there were no IPPS) and were fixed (no greater and no less than what would
have been paid had there been no IPPS). To do otherwise, would impact the very integrity of
IPPS.

Accordingly, the Board finds that: (1) the appealed issue is inextricably intertwined with the FFY
1984 and 1985 budget neutrality adjustments to the standardized amounts for purposes of future
FFYs under the operation of 42 U.S.C. §§ 1395ww(b)(3)(B), 1395ww(d)(3)(A), and both
1395ww(d)(2)(F) and 1395ww(d)(3)(C) which reference 1395ww(e)(1)(B), as demonstrated by
the fact that the FFY 1985 budget-neutrality adjusted rates were used as the basis for the
determination of rates for FFY 1986 and later years; and (2) 42 U.S.C. §§ 1395oo(g)(2) and
1395ww(d)(7) (and related implementing regulations57) prohibit administrative and judicial
review of those budget neutrality adjustments. Based on these findings, the Board concludes that
it does not have substantive jurisdiction over the issue in the one hundred and nineteen (119)
CIRP and optional group cases listed in Appendix A. Accordingly, the Board hereby closes
these one hundred and nineteen (119) groups cases and removes them from the Board’s docket.

Review of this determination may be available under the provisions of 42 U.S.C. § 1395oo(f)
and 42 C.F.R. §§ 405.1875 and 405.1877.

 Board Members Participating:                            For the Board:

 Clayton J. Nix, Esq.                                                               2/29/2024
 Robert A. Evarts, Esq.
 Kevin D. Smith, CPA
 Ratina Kelly, CPA                                        X        Clayton J. Nix
                                                           Clayton J. Nix, Esq.
                                                           Chair
                                                           Signed by: PIV




cc:        Danelle Decker, National Government Services, Inc. (J-K)
           Michael Redmond, Novitas Solutions, Inc. (J-L)
           Dana Johnson, Palmetto GBA c/o National Government Services, Inc. (J-M)
           Pamela VanArsdale, National Government Services, Inc. (J-6)
           John Bloom, Noridian Healthcare Solutions (J-F)
           Wilson Leong, FSS
           Jacqueline Vaughn, CMS OAA



57
     See, e.g., 42 C.F.R. §§ 405.1804, 405.1840(b)(2).




                                            COMPLAINT EXHIBIT 1
        Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 26 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 25

                                          APPENDIX A
                      Jurisdictional Challenges and Responses; Cases at Issue

On September 13, 2023, the Medicare Contractor filed a challenge to the following case with Medicare
Contractor, National Government Services, Inc. (J-6):

 20-2057GC      Catholic Health CY 2017 Understated Base Rate CIRP Group


On September 14, 2023, the Medicare Contractor filed a challenge to the following ninety-three (93)
cases which all share a common lead Medicare Contractor, National Government Services, Inc. (J-K):

 19-0212G       Morgan, Lewis & Bockius CY 2015 Understated Base Rate Group
 19-0237GC      Catholic Health System CY 2015 NY Understated Base Rate CIRP Group
 19-0413G       Morgan, Lewis & Bockius CY 2014 Understated Base Rate Group
                Univ of Rochester CY 2014 University of Rochester MC 2014 Understated Base Rate CIRP
 19-0521GC      Group
 19-0592GC      Northwell Health CY 2014 2014 Understated Base Rate CIRP Group
 19-0751GC      Catholic Health System FFY 2019 Understated Base Rate in Final IPPS Rule CIRP Group
 19-0776GC      Kaleida Health FFY 2019 Understated Base Rate in the Final IPPS Rule CIRP Group
 19-0777GC      Univ of Rochester FFY 2019 Understated Base Rate in the Final IPPS Rule CIRP Group
                Rochester Regional Health FFY 2019 Understated Base Rate in the Final IPPS Rule CIRP
 19-0778GC      Group
 19-0822GC      Montefiore Health FFY 2019 Understated Base Rate in the Final IPPS Rule CIRP Group
 19-0827GC      Catholic Health LI FFY 2019 Understated Base Rate in the Final IPPS Rule CIRP Group
 19-0830GC      Northwell Health FFY 2019 Understated Base Rate in the Final IPPS Rule CIRP Group
 19-0834G       Morgan, Lewis & Bockius FFY 2019 Understated Base Rate in Final IPPS Rule Group
                One Brooklyn Health Syste FFY 2019 Understated Base Rate in the Final IPPS Rule CIRP
 19-1157GC      Group
 19-1243GC      Catholic Health LI CY 2015 Understated Base Rate CIRP Group
 19-1291GC      One Brooklyn CY 2015 One Brooklyn Health System Understated Base Rate CIRP Group
 19-1323GC      Rochester Regional Health CY 2012, 2015 Understated Base Rate CIRP Group
 19-1356GC      Montefiore Health CY 2013 – 2015 Understated Base Rate CIRP Group
 19-1570GC      Northwell Health CY 2013 Understated Base Rate CIRP Group
 19-1571GC      Northwell Health CY 2015 Understated Base Rate CIRP Group
 19-2023G       Morgan, Lewis & Bockius CY 2009 – 2010 Understate Base Rate Group
 19-2068GC      Univ of Rochester CY 2015 Understated Base Rate CIRP Group
 19-2356GC      Northwell Health CY 2016 Understated Base Rate CIRP Group
 20-1007GC      Univ of Rochester CY 2016 Understated Base Rate CIRP Group
 20-1008GC      Stony Brook Medicine CY 2015 Understated Base Rate CIRP Group
 20-1009GC      Catholic Health FFY 2020 Understated Base Rate in 2020 Final IPPS Rule CIRP Group
                Rochester Regional Health FFY 2020 Understated Base Rate in the 2020 Final IPPS Rule
 20-1010GC      CIRP Group
 20-1024GC      Montefiore Health FFY 2020 Understated Base Rate in Final IPPS Rule CIRP Group
 20-1027GC      Catholic Health LI FFY 2020 Understated Base Rate in Final Rule CIRP Group



                                     COMPLAINT EXHIBIT 1
      Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 27 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 26

20-1028GC    Univ of Rochester FFY 2020 Understated Base Rate in Final Rule CIRP Group
20-1029GC    Northwell Health FFY 2020 Understated Base Rate in Final Rule CIRP Group
20-1030GC    Kaleida Health FFY 2020 Understated Base Rate in Final Rule CIRP Group
20-1075GC    One Brooklyn FFY 2020 Understated Base Rate in the Final Rule CIRP Group
20-1135GC    Albany Medical Center FFY 2020 Understated Base Rate in the Final Rule CIRP Group
20-1157G     Morgan, Lewis & Bockius FFY 2020 Understated Base Rate in the Final Rule Group
20-1405G     Morgan, Lewis & Bockius CY 2016 Understated Base Rate Group
20-1407GC    Upper Allegheny Health Sy CY 2016 Understated Base Rate CIRP Group
20-1409GC    One Brooklyn CY 2016 Understated Base Rate CIRP Group
20-1427GC    Catholic Health LI CY 2016 Understated Base Rate CIRP Group
20-1484GC    Catholic Health CY 2016 Understated Base Rate CIRP Group
20-1489GC    Rochester Regional Health CY 2016 Understated Base Rate CIRP Group
20-1537GC    Albany Medical Center CY 2016 Understated Base Rate CIRP Group
20-1755GC    Montefiore Health CY 2016 Understated Base Rate CIRP Group
20-1933GC    Catholic Health LI CY 2017 Understated Base Rate CIRP Group
20-1980GC    Montefiore Health CY 2017 Understated Base Rate CIRP Group
20-2026GC    Stony Brook Medicine CY 2016 Understated Base Rate CIRP Group
20-2042GC    Univ of Rochester CY 2017 Understated Base Rate CIRP Group
20-2078G     Morgan, Lewis & Bockius CY 2017 Understated Base Rate Group
20-2158GC    Kaleida Health CY 2017 Understated Base Rate CIRP Group
21-0283GC    Stony Brook Medicine CY 2017 Understated Base Rate CIRP Group
21-0295GC    Albany Medical Center CY 2017 Understated Base Rate CIRP Group
21-0450GC    Northwell Health CY 2017 Understated Base Rate CIRP Group
21-0741GC    Rochester Regional Health CY 2017 Understated Base Rate CIRP Group
21-0742GC    One Brooklyn CY 2017 Understated Base Rate CIRP Group
21-1039GC    Northwell Health FFY 2021 Understated Base Rate in 2021 Final IPPS Rule CIRP Group
             Albany Medical Center FFY 2021 Understated Base Rate in the 2021 Final IPPS Rule CIRP
21-1044GC    Group
             Rochester Regional Health FFY 2021 Understated Base Rate in the Final 2021 IPPS Rule
21-1046GC    CIRP Group
21-1057GC    Univ of Rochester FFY 2021 Understated Base Rate in 2021 Final IPPS Rule CIRP Group
21-1058GC    Catholic Health FFY 2021 Understated Base Rate in 2021 Final IPPS Rule CIRP Group
21-1081GC    Montefiore Health FFY 2021 Understated Base Rate in 2021 Final IPPS Rule CIRP Group
21-1082GC    One Brooklyn FFY 2021 Understated Base Rate in 2021 Final IPPS Rule CIRP Group
21-1084GC    Kaleida Health FFY 2021 Understated Base Rate in 2021 Final IPPS Rule CIRP Group
21-1093G     Morgan, Lewis & Bockius FFY 2021 Understated Base Rate in 2021 Final IPPS Rule Group
21-1096GC    Catholic Health LI FFY 2021 Understated Base Rate in 2021 Final IPPS Rule CIRP Group
21-1423GC    Univ of Rochester CY 2018 Understated Base Rate CIRP Group
21-1427GC    Rochester Regional Health CY 2018 Understated Base Rate CIRP Group
21-1618G     Morgan, Lewis & Bockius CY 2018 Understated Base Rate Group
21-1629GC    Kaleida Health CY 2018 Understated Base Rate CIRP Group
21-1645GC    Catholic Health LI CY 2018 Understated Base Rate CIRP Group
21-1648GC    Catholic Health CY 2018 Understated Base Rate CIRP Group




                                COMPLAINT EXHIBIT 1
        Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 28 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 27

 21-1660GC      Montefiore Health CY 2018 Understated Base Rate CIRP Group
 21-1673GC      Albany Medical Center CY 2018 Understated Base Rate CIRP Group
 22-0137GC      Northwell Health CY 2018 Understated Base Rate CIRP Group
 22-0186GC      One Brooklyn CY 2018 Understated Base Rate CIRP Group
                Northwell Health FFY 2022 Understated Base Rate in the 2022 Final IPPS Rule CIRP
 22-0666GC      Group
                Montefiore Health FFY 2022 Understated Base Rate in the 2022 Final IPPS Rule CIRP
 22-0667GC      Group
                Albany Medical Center FFY 2022 Understated Base Rate in 2022 Final IPPS Rule CIRP
 22-0668GC      Group
                Rochester Regional Health FFY 2022 Understated Base Rate in the 2022 Final IPPS Rule
 22-0698GC      CIRP Group
                Univ of Rochester FFY 2022 Understated Base Rate in the 2022 Final IPPS Rule CIRP
 22-0709GC      Group
                Morgan, Lewis & Bockius FFY 2022 Understated Base Rate in the 2022 Final IPPS Rule
 22-0717G       Group
 22-0743GC      Kaleida Health FFY 2022 Understated Base Rate in the 2022 Final IPPS Rule CIRP Group
 22-1158G       Morgan, Lewis & Bockius CY 2017 Understated Base Rate Optional Group II Group
 22-1359GC      Univ of Rochester CY 2019 Understated Base Rate CIRP Group
 23-0379GC      Albany Medical Center CY 2019 Understated Base Rate CIRP Group
 23-0692GC      Albany Medical Center FFY 2023 Understated Base Rate CIRP Group
 23-0693GC      Catholic Health LI FFY 2023 Understated Base Rate in 2023 IPPS Final Rule CIRP Group
 23-0694GC      Catholic Health FFY 2023 Understated Base Rate in 2023 IPPS Final Rule CIRP Group
 23-0757GC      Kaleida Health FFY 2023 Understated Base Rate in 2023 IPPS Final Rule CIRP Group
 23-0763GC      Montefiore Health FFY 2023 Understated Base Rate in 2023 Final IPPS Rule CIRP Group
                Northwell Health FFY 2023 Understated Base Rate in the 2023 IPPS Final Rule CIRP
 23-0780GC      Group
                Rochester Regional Health FFY 2023 Understated Base Rate in the 2023 IPPS Final Rule
 23-0786GC      CIRP Group
                Univ of Rochester FFY 2023 Understated Base Rate in the 2023 IPPS Final Rule CIRP
 23-0804GC      Group
                Morgan, Lewis & Bockius FFY 2023 Understate Base Rate in the 2023 IPPS Final Rule
 23-0805G       Group


On September 19, 2023, the Medicare Contractor filed a challenge to the following seven (7) cases which
all share a common lead Medicare Contractor, Palmetto GBA c/o National Government Services, Inc. (J-
M):

 19-2246GC      Duke University CY 2012 Understated Base Rate CIRP Group
 20-0114GC      Duke University CY 2013 Understated Base Rate CIRP Group
 20-1026GC      Duke University FFY 2020 Understated Base Rate in Final Rule CIRP Group
 21-1095GC      Duke University FFY 2021 Understated Base Rate in 2021 Final IPPS Rule CIRP Group
 22-0712GC      Duke University FFY 2022 Understated Base Rate in the 2022 Final IPPS Rule CIRP Group
 23-0468GC      Duke University CY 2015 Understated Base Rate CIRP Group
 23-0723GC      Duke University FFY 2023 Understated Base Rate in the 2023 Final IPPS Rule CIRP Group



                                     COMPLAINT EXHIBIT 1
        Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 29 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 28




On September 22, 2023, the Medicare Contractor filed a challenge to the following case with Medicare
Contractor, Noridian Healthcare Solutions, LLC (J-F):

                Morgan Lewis & Bockius CYs 2013 & 2016 Understated Base Rate (Optional Group II)
 22-1061G       Group


On October 19, 2023, the Medicare Contractor filed a challenge to the following seventeen (17) cases
which all share a common lead Medicare Contractor, Novitas Solutions, LLC (J-L):

 19-0726GC      CarePoint Health FFY 2019 Understated Base Rate in Final IPPS Rule CIRP Group
 19-0763GC      Geisinger Health CY 2015 – 2016 Understated Base Rate CIRP Group
 19-0816GC      Geisinger Health FFY 2019 Understated Base Rate in the Final IPPS Rule CIRP Group
 19-1292GC      Geisinger Health CY 2017 Understated Base Rate CIRP Group
 19-2279GC      CarePoint Health CY 2015 Understated Base Rate CIRP Group
 20-1025GC      CarePoint Health FFY 2020 Understated Base Rate in Final IPPS Rule CIRP Group
 20-1068GC      Geisinger Health FFY 2020 Understated Base Rate in Final Rule CIRP Group
 20-1893GC      CarePoint Health CY 2016 Understated Base Rate CIRP Group
 20-1958GC      Geisinger Health CY 2011 Understated Base Rate CIRP Group
 21-0703GC      CarePoint Health CY 2017 Understated Base Rate CIRP Group
 21-1045GC      Geisinger Health FFY 2021 Understated Base Rate in the 2021 Final IPPS Rule CIRP Group
 21-1052GC      CarePoint Health FFY 2021 Understated Base Rate in 2021 Final IPPS Rule CIRP Group
 21-1456GC      Geisinger Health CY 2018 Understated Base Rate CIRP Group
 22-0714GC      Geisinger Health FFY 2022 Understated Base Rate in the 2022 Final IPPS Rule CIRP Group
 22-0997GC      CarePoint Health CY 2018 Understated Base Rate CIRP Group
 23-0756GC      Geisinger Health FFY 2023 Understated Base Rate in 2023 IPPS Final Rule CIRP Group
 23-1044GC      Geisinger Health CY 2019 Understated Base Rate (NPR) CIRP Group




                                     COMPLAINT EXHIBIT 1
         Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 30 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 29

                                                 APPENDIX B

The following are examples of other adjustments to the standardized amounts that have occurred
outside of the FFY 1984 and 1985 budget neutrality adjustments and the “applicable percentage
increases” for FFYs 1986 and forward as provided in 42 U.S.C. § 1395ww(b)(3)(B)(i):

     a. “Restandardization of base year costs per case used in [the] calculation of Federal rates”
        for both the labor and non-labor portions to reflect the survey-based wage index as
        discussed in the FY 1986 IPP Final Rule. 50 Fed. Reg. 35646, 35692 (Sept. 3, 1985).

     b. Recalibration of DRG weights done in a budget neutral manner pursuant to 42 U.S.C.
        § 1395ww(d)(4)(C) at least every 4 years beginning with 1986.58 An example of
        recalibration can be found in the FY 1986 IPPS Final Rule wherein the Secretary changed
        its methodology for calculating the DRG relative weights.59

     c. Budget neutrality adjustments made to the standardized amount designated for urban
        hospitals and the one designated for rural hospitals when certain urban hospitals were

58
   The Secretary confirmed that, beginning in 1991, these adjustments are to be made in a budget neutral manner:
          Section 1886(d)(4)(C)(iii) of the Act requires that beginning with FY 1991, reclassification and
          recalibration changes be made in a manner that assures that the aggregate payments are neither
          greater than nor less than the aggregate payments that would have been made without the
          changes. Although normalization is intended to achieve this effect, equating the average case
          weight after recalibration to the average case weight before recalibration does not necessarily
          achieve budget neutrality with respect to aggregate payments to hospitals because payment to
          hospitals is affected by factors other than average case weight. Therefore, as discussed in section
          II.A.4.b. of the Addendum to this final rule, we are making a budget neutrality adjustment to
          implement the requirement of section 1886(d)(4)(C)(iii) of the Act.
59 Fed. Reg. 45330, 45348 (Sept. 1, 1994).
59
   50 Fed. Reg. 35646, 35652 (Sept. 3, 1985). As part of this recalibration process, the Secretary responded to a
comment on the use of transfers in the recalibration process as follows:
          Comment: A commenter was concerned that, by including transfer cases in the calculation of the
          relative weights, we might be inappropriately reducing the relative weights of DRGs in which
          there are significant proportions of transfer cases.
          Response: This commenter assumes that the charges for transfer cases are lower than charges for
          the average case in a DRG. Our data show that this assumption is not correct for many DRGs. To
          test the effect of including transfers in the calculation of the relative weights, we computed mean
          charges for each DRG, both with and without the transfer cases. We then conducted statistical
          tests to determine whether these two means differed significantly at the .05 confidence level (that
          is, there is only a .05 probability that the observed difference in the means would occur if the two
          sets of cases came from the same underlying population). The results indicate that transfers have a
          statistically significant effect on the mean charges of only 16 DRGs. For 13 of the 16 DRGs,
          inclusion of transfer cases tends to increase the mean charges. However, for three DRGs, the
          mean charges are reduced by the inclusion of the transfer cases.
          Since the inclusion of transfer cases raises the mean charges for some DRGs and lowers them for
          others, and because these effects are limited to such a small number of DRGs, we decided not to
          revise the method we used to recalibrate the relative weights. During FY 1986, we will be
          studying the entire issue of transfers and the appropriate payment for these cases. This study may
          reveal other ways of handling transfer cases in future recalibrations.
Id. at 35655-56.




                                          COMPLAINT EXHIBIT 1
         Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 31 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 30

         deemed to be urban effective with discharges occurring on or after October 1, 1988. 53
         Fed. Reg. 38476, 38499-500, 38539 (Sept. 30, 1988) (implementing OBRA 87, Pub. L.
         100-203, § 4005).60

     d. Effective for FFY 1995, eliminating the initial two standardized amounts (one for urban
        hospital and another for rural hospitals)61 and replacing them with one single
        standardized amount as specified at 42 C.F.R. § 1395ww(d)(3)(C)(iii).62

     e. Budget neutrality provision at 42 U.S.C. § 1395ww(d)(3)(A)(vi) that allows Secretary to
        adjust standardized amount to eliminate the effect of “changes in coding or classification
        of discharges that do not reflect real changes in case mix.”63

     f. The discretion of the Secretary in 42 U.S.C. § 1395ww(d)(3)(I)(i) to “provide by
        regulation for such other exceptions and adjustments to such payments amounts under
        this subsection as the Secretary deems appropriate.”




60
   See also 56 Fed. Reg. 43358, 43373 (Aug. 30, 1991) (stating “Consistent with the prospective payment system for
operating costs, the September 1, 1987 capital final rule provided for separate standardized amounts for hospitals
located in urban and rural areas. Subsequently, the Omnibus Budget Reconciliation Act of 1987 (Pub. L. 100-203)
provided for a higher update factor for hospitals located in large urban areas than in other urban areas and thereby
established three standardized amounts under the prospective payment system for operating costs. Large urban areas
are defined as those metropolitan statistical areas (MSAs) with a population of more than 1 million (or New England
County metropolitan statistical areas (NECMAs) with a population of more than 970,000). Beginning with discharges
on or after April 1,1988 and continuing to FY 1995, the Congress has also established higher update factors for rural
hospitals than for urban hospitals. The differential updates have had the effect of substantially reducing the
differential between the rural and other urban standardized amounts. Section 4002(c) of Public Law 101-508 provides
for the elimination of the separate standardized amounts for rural and other urban hospitals in FY 1995 by equating the
rural standardized amount to the other urban standardized amount. The separate standardized amount for large urban
hospitals would continue. Currently, the large urban standardized amount under the prospective payment system for
operating costs is 1.6 percent higher than the standardized amount for hospitals located in other urban areas.”).
61
   See 42 U.S.C. §§ 1395ww(d)(2)(D), 1395ww(d)(3)(A); supra note 21.
62
   Omnibus Reconciliation Act of 1990, Pub. L. 101-508, § 4002(c), 104 Stat. 1388, 1388-33 – 1388-35 (1990).
63
   For example, the Secretary included the following discussion in the preamble to the FFY 1986 IPPS Final Rule:
          As stated above, we have already built case-mix increases into the cost-per-case assumptions used
          in deriving budget neutral prospective payment rates for FY 1984 and FY 1985.
          Now that there is no further requirement for budget neutrality, we agree that real case-mix increases
          should be explicitly recognized. In fact, to the extent that case mix continues to increase, hospitals
          realize the benefit of such increase in increased payments for the current year. This is because we
          do not recoup payments already made, but only adjust the rates to avoid compounding such
          overpayments in the future. Thus, FY 1986 prospective payment rates were based on FY 1985
          rates, corrected to eliminate all increases in case mix through FY 1985 (since FY 1985 was a
          budget neutral year). However, we now have data that indicate that case mix has increased an
          additional 2.6 percent. Hospitals have been realizing the benefit of that increase through increased
          payments. Our update factor will be adjusted so as to not pass through in the FY 1987 rates 2.0
          percentage points of the increase in case mix. However, the 0.6 percentage points that we estimate
          to reflect a real increase in case mix will be added to the update factor for FY 1987.
51 Fed. Reg. 31505-06.




                                          COMPLAINT EXHIBIT 1
         Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 32 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 31

     g. The subsequent amendments that Congress made in 199464 and 199765 to add
        subparagraphs (I) and (J) to 42 U.S.C. § 1395ww(d)(5) to recognize and incorporate the
        concept of transfers into IPPS in a budget neutral manner. The Secretary made
        adjustments to the standardized amounts in order to implement the permanent
        incorporation of transfers into IPPS.66

To illustrate the complex nature of these issues, the Board points to the Secretary’s exercise of her
discretion under 42 U.S.C. § 1395ww(d)(3)(I)(i) on making recommendations to Congress on
whether to make adjustments to the “applicable percentage increases” or update factor for FFY
1986 as provided in 42 U.S.C. § 1395ww(b)(3)(B)(i). In the September 1985 Final Rule,67 the
Secretary asserted that the FFY 1985 Federal rates were “overstated” and cited to the GAO’s 1985
report entitled “Report to the Congress of the United States: Use of Unaudited Hospital Cost Data
Resulted in Overstatement of Medicare Prospective Payment System Rates” and, pursuant to 42
U.S.C. § 1395ww(e)(4), made a recommendation to Congress that it not provide any increase to
FFY 1985 standardized amounts but rather freeze the FFY 1986 amounts at the FFY 1985 levels
(i.e., recommended an update factor of 0 percent for FFY 1986).68 The following excerpts from
that rulemaking describe how the Secretary determined that the FFY 1985 standardized amounts
were overstated when reviewing whether to recommend that Congress adjust the update factor for
the FFY 1986 standardized amounts:

                  Since the standardized amounts for FY 1985 are used as the basis for
                  the determination of rates for later years, the level of the FY 1985
                  standardized amounts must be corrected for any experience that
                  developed since they were published. We believe that it is necessary,
                  each year, to review the appropriateness of the level of the previous
                  year’s prospective payment rates for providing reasonable payment
                  for inpatient hospital services furnished to beneficiaries. Further, we
                  think this review must include assessment of whether the previous
                  year’s prospective payment rates have established adequate
                  incentives for the efficient and effective delivery of needed care.

64
   Social Security Act Amendments of 1994, § 109, Pub. L. 103-432, 108 Stat. 4398, 4408 (1994) placed the then-
existing language of 42 U.S.C. § 1395ww(d)(5)(I) into clause (i) and added the following clause (ii): “(ii) In making
adjustments under clause (i) for transfer cases (as defined by the Secretary) in a fiscal year, the Secretary may make
adjustments to each of the average standardized amounts determined under paragraph (3) to assure that the aggregate
payments made under this subsection for such fiscal year are not greater than or lesser than those that would have
otherwise been made in such fiscal year.”
65
   Balanced Budget Act of 1997, Pub. L. 105-33, § 4407, 111 Stat. 251, 401 (1997), further revised 42 U.S.C.
§ 1395ww(d)(5)(I) and added § 1395ww(d)(5)(J).
66
   See 60 Fed. Reg. 45778, 45854 (Sept. 1, 1995) (“[W]e are revising our payment methodology for transfer cases,
so that we will pay double the per diem amount for the first day of a transfer case, and the per diem amount for each
day after the first, up to the full DRG amount. For the data that we analyzed, this would result in additional
payments for transfer cases of $159 million. To implement this change in a budget neutral manner, we adjusted the
standardized amounts by applying a budget neutrality adjustment of 0.997583 in the proposed rule.”).
67
   50 Fed. Reg. 35646, 35704 (Sept. 3, 1985).
68
   U.S. Gov’t Accountability Office, GAO/HRD-85-74, Use of Unaudited Hospital Cost Data Resulted in
Overstatement of Medicare’s Prospective Payment System Rates (1985).




                                          COMPLAINT EXHIBIT 1
      Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 33 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 32


             In addition to this general consideration, the FY 1985 adjusted
             average standardized amounts (Federal rates) were required by law
             to be adjusted to achieve budget neutrality; that is, to ensure that
             aggregate payments for the operating costs of inpatient hospital
             services would be neither more nor less than we estimated would
             have been paid under prior legislation for the costs of the same
             services. (The technical explanation of how this adjustment was
             made was published in the August 31, 1984 final rule (49 FR
             34791).) These budget neutrality-adjusted rates for FY 1985 are then
             to be used as the basis for the determination of rates for later years.

             Our FY 1985 budget neutrality adjustment factors were based on data
             and assumptions that resulted in standardized amounts that were
             higher than necessary to achieve budget neutrality. Therefore, we
             have updated the FY 1985 standardized amounts using a factor that
             takes into account the overstatement of the FY 1985 amounts to
             ensure that accuracy of the FY 1986 standardized amounts. To this
             end, we have identified several factors, discussed in section II.A.3.c.,
             below, that contributed to the overstatement of the FY 1985
             standardized amounts. We have determined an appropriate percent
             value for each of them, and have combined them into a proposed
             composite correction factor for FY 1986 that equals –7.5 percent.

             In addition, we have developed factors representing productivity,
             technological advances, and the elimination of ineffective practice
             patterns, which are necessary to ensure the cost-effective delivery of
             care. Each of these factors interacts with the others, to some extent,
             and has an impact on the quality of care. Making conservative
             assumptions, we have determined an appropriate percent value for
             each of these factors, taking into consideration their potential effect
             on quality. We have combined these values into a composite
             policy target adjustment factor, as discussed in section III.3.e.,
             below. For FY 1986, this factor equals —1.5 percent.

             The Secretary is required under section 1886(e)(4) of the Act to
             make those adjustments in establishing the update factor that are
             “. . . necessary for the efficient and effective delivery of medically
             appropriate and necessary care of high quality.” Establishing FY
             1986 prospective payment rates based on FY 1985 rates that have
             been demonstrated to be overstated, clearly would not comport
             with the statutory requirement that the rates represent payment for
             efficiently delivered care.




                                  COMPLAINT EXHIBIT 1
            Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 34 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 33

                    Since the forecasted hospital market basket increase for FY 1986 is
                    +4.27 percent, and the adjustment for Part B costs and FICA taxes
                    is +.31 percent, it is clear that there is a potential justification of a –
                    4.42 percent decrease in the FY 1986 standardized amounts as
                    compared to those for FY 1985 as described below:

                                                                                 Percent

                                  Forecasted market basket increase..            +4.27

                                  Part B costs and FICA taxes............        +.31

                                  Composite correction factor.............       –7.5

                                  Composite policy target adjustment             –1.5
                                  factor......................................

                    However, for the reasons discussed in section II.A.3.f., below, we
                    have decided that such a decrease is undesirable. Therefore, we are
                    maintaining the FY 1986 standardized amounts at the same average
                    level as FY 1985, in effect applying a zero percent update factor.69

                                                          ****
                    (3) Additional causes for the overstatement of FY 1985 Federal
                    rates. In addition to the factors above, which we believe we must
                    correct, other considerations also contributed significantly to
                    the overstatement of the FY 1985 standardized amounts.

                    When we set the standardized amounts for FY 1985, we made
                    assumptions on hospital cost per case increases in order to estimate,
                    for purposes of budget neutrality, the payments that would have been
                    made had prior payment rules continued in effect. These assumed
                    rates of increase in cost per case were 10.9 percent for 1983, 9.8
                    percent for 1984, and 9.8 percent for 1985. These assumptions were
                    significantly higher than the actuarial estimates. The actuarially
                    estimated rates of increase in cost per case (which ignore any effects
                    of the prospective payment system such as shorter lengths of stay)
                    are 9.8 percent for 1983, 8.1 percent for 1984, and 8.5 percent for
                    1985. After application of the revised market basket, discussed
                    previously, use of these actuarial estimates would reduce the
                    standardized amounts by an additional 1.2 percent.



69
     50 Fed. Reg. at 35695 (bold, italics, and underline emphasis added).




                                            COMPLAINT EXHIBIT 1
      Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 35 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 34

             For FY 1985, we also used 1981 unaudited, as-submitted cost
             reports (to get recent data as quickly as possible) to set the
             Federal rates. The hospital specific rates were set using later
             (1982 or 1983) cost reports that were fully audited. The audits
             adjusted the total cost for these reports downward by $2.2 billion,
             of which Medicare realized about $900 million in inpatient
             recoveries. Since the cost data used to set the Federal rates do
             not reflect audit recoveries, it is likely that they are overstated
             by a similar amount. We do not know precisely what proportion
             of this amount applies to capital-related costs and other costs that
             would not affect the Federal rates. However, approximately 90
             percent of hospitals” total inpatient costs are operating costs, and if
             only 40 percent of the $900 million in audit recoveries is related to
             Federal payments for inpatient operating costs, there would have
             been, conservatively estimated, at least a one percent
             overstatement of allowable costs incorporated into the cost data to
             determine the FY 1985 standardized amounts.

             In addition, the General Accounting Office (GAO) recently
             conducted a study to evaluate the adequacy of the Standardized
             amounts. In its report to Congress dated July 18, 1985 (GAO/HRD-
             85-74), GAO reported findings that the standardized amounts,
             as originally calculated, are overstated by as much as 4.3
             percent because they were based on unaudited cost data and
             include elements of capital costs. GAO recommended that the
             rates be adjusted accordingly.

             We believe that these causes for the overstatement of the
             standardized amounts are related to our own procedures and
             decisions. Thus, they are unlike both the market basket index, which
             is a technical measure of input prices, and the increases in case-mix,
             which would not have been passed through beyond the extent to
             which they affected the estimates of cost per case. Further, as
             discussed below, even without making these corrections, we could
             justify a negative update factor for FY 1986, although we are not
             establishing one. Since we have decided to set FY 1986
             standardized amounts at the same level as those for FY 1985,
             making corrections now to reflect the cost per case assumptions
             and the audit data would have no practical effect. Therefore, we
             have decided at this time not to correct the standardized
             amounts for these factors.

             We received no comments on this issue.




                                  COMPLAINT EXHIBIT 1
         Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 36 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 35

                 (4) Composite Correction Factor. We are adjusting the standardized
                 amounts as follows to take into consideration the overstatement of
                 the prior years, amounts:
                                                                      Percent
                 Case mix....................................... ......... –6.3
                 Market basket......................................... –1.2
                 Composite correction factor......                        –7.570

Congress did immediately act on the Secretary’s September 3, 1985 recommendation because,
shortly thereafter on September 30, 1985, it enacted § 5(a) of the Emergency Extension Act of
1985 (“EEA-85”) to maintain existing IPPS payment rates for FFY 1986 at the FFY 1985 Rates
(i.e., provide a 0 percent update factor) until November 14, 1985 as specified in EEA-85 § 5(c).71
Congress subsequently modified this freeze on several different occasions as explained in the
interim final rule published on May 6, 1986:

                 - Pub. L. 99-155, enacted December 14, 1985, extended the [EEA-85]
                 delay through December 14, 1985.

                 - Pub. L. 99-181, enacted December 13, 1985, extended the [EEA-85]
                 delay through December 18, 1985.

                 - Pub. L. 99-189, enacted December 18, 1985, extended the [EEA-85]
                 delay through December 19, 1985.

                 - Pub. L. 99-201 enacted December 23, 1985, extended the [EEA-85]
                 delay through March 14, 1986.72

Second, on April 7, 1986, Congress further revised EEA-85 § 5(c) by extending the 0 percent
update factor through April 30, 1986 and then specified that, for discharges on or after May 1,
1986, the update factor would be ½ of a percentage point.73 As previously discussed above in
the decision at Section B.3, in the final rule published on May 6, 1986, the Secretary confirmed
that “the adjusted standardized amounts that were published in the September 3,1985 final rule
(which reflected a zero percent update) are updated by one-half of one percent effective for
discharges on or after May 1,1986”74 and these FFY 1986 adjusted standardized rates are based
on the FFY 1985 budget neutrality-adjusted rates.


70
   Id. at 35703-04 (bold and underline emphasis added).
71
   Pub. L. 99-107, § 5(a), 99 Stat. 479, 479 (1985). In July 1984, Congress had already reduced the 1 percent update
factor planned for FFY 1986 to ¼ of a percentage point. Deficit Reduction Act of 1984, Pub. L. 98-369, § 2310(a),
98 Stat. 494, 1075 (1984). As part of the Emergency Extension Act of 1985, Congress further reduced the update
factor for FFY 1986, presumably in response to the Secretary’s recommendation.
72
   51 Fed. Reg. 16772, 16772 (May 6, 1986).
73
   See id. at 16773. See also Medicare and Medicaid Budget Reconciliation Amendments of 1985, Pub. L. 99-272,
§ 9101(a), 100 Stat. 151, 153 (1986).
74
   51 Fed. Reg. at 16773.




                                         COMPLAINT EXHIBIT 1
       Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 37 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 36

The examples highlight concerns about how certain future actions and decisions by the Secretary
and Congress build upon prior decisions. Here, the Secretary’s recommendation to Congress
regard the FFY 1986 update factor were based on its analysis of the FFY 1984 and 1985
standardized amounts that had already been adjusted for budget neutrality. To the extent the
1984 standardized amounts had been further adjusted (as now proposed by the Providers), it
could have potentially impacted the Secretary’s recommendation to Congress for the FFY 1986
update factor as well as Congress’ subsequent revisions to the updated factor. Accordingly, this
highlights how revisiting and otherwise adjusting the FY 1984 standardized amounts can have
ripple effects with the update factor and other adjustments that were made for subsequent years
based on analysis of the prior year(s) and other information.




                                  COMPLAINT EXHIBIT 1
         Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 38 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 37

                                                 APPENDIX C

In its decision, the Board has noted that the Secretary confirmed in the preamble of the FFY
1986 IPPS Final Rule that the FFY budget neutrality-adjusted rates were used in determining the
rates for FFY 1986 and would similarly be part of subsequent FFYs rates. The following
excerpts from the preambles to IPPS final rules provide additional contexts in which the
Secretary confirmed that the FFY 1985 budget neutrality-adjusted rates were part of the rate for
later FFYs and illustrate how embedded the FFY 1985 budget neutrality-adjusted rates are in the
rates used for FFY 1986 and subsequent years. Thus, regardless of how the Providers contend
the Medicare statute should be interpreted relative to the 1985 budget neutrality adjustment, it is
clear that the Secretary herself interpreted those provisions as requiring the application of the
FFY 1985 budget neutrality-adjusted rates to later years; and that the FFY 1985 budget
neutrality-adjusted rates are the basis for the rates used in FFY 1986 forward through to the years
at issue.

1. In the preamble to the FFY 1986 IPPS Final Rule, the Secretary recognizes that the FFY 1985
   budget neutrality adjustment accounted for the removal of nonphysician anesthetist costs from
   the base rates and no further adjustments were needed relative to those costs since the FFY
   1985 budget neutrality-adjusted rates were used in determining the FY 1986 rates and would
   similarly be used for the 1987 rates:

                 c. Nonphysician anesthetist costs. In the August 31, 1984 final
                 rule, we implemented section 2312 of Pub. L. 98-369, which
                 provided that hospital costs for the services of nonphysician
                 anesthetists will be paid in full as a reasonable cost pass-through
                 for cost reporting periods beginning before October 1, 1987. We
                 did not directly reduce the FY 1985 Federal rates to exclude the
                 estimated costs of these services, because any required
                 adjustment would be incorporated in the budget neutrality
                 adjustment factors applied to the national and regional
                 standardized amounts. (See 49 FR 34794; August 31, 1984).
                 Since the FY 1986 standardized amounts are derived from an
                 update of the FY 1985 amounts, which were adjusted for
                 budget neutrality, the rates will automatically include the
                 appropriate adjustment. We are not making further adjustments
                 to the Federal rates for this factor for either FY 1986 or FY 1987.75


75
  50 Fed. Reg. at 35708 (Italics emphasis in original and bold and underline emphasis added). In this regard, the
Board notes that the FFY 1985 IPPS Final Rule explained how the FFY 1985 budget neutrality adjustment
accounted for Anesthetists services:
        Anesthetists’ Services. Under section 2312 of Pub. L. 98-369, the costs to the hospital of the
        services of nonphysician anesthetists will be reimbursed in full by Medicare on a reasonable cost
        basis. In order to ensure that these services will be paid for only once, we must remove their costs
        from the prospective payment rates.




                                          COMPLAINT EXHIBIT 1
       Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 39 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 38


   2. In the preamble to the FFY 1987 IPPS Final Rule, the Secretary explains how her budget
      neutrality adjustments for FFYs 1984 and 1985 had “already built case-mix increases into
      the cost-per case assumptions used in deriving the budget neutral prospective rates for FY
      1984 and FY 1985” and confirms that “FY 1986 prospective payment rates were based
      on FY 1985 rates, corrected to eliminate all increases in case mix through FY 1985 (since
      FY 1985 was a budget neutral year)”:

               Comment: Several commenters stated that we did not consider real
               case mix increases in the 1983 to 1984 period, and that we finally
               are considering real case mix increases for the first time.

               Response: FY 1984 and FY 1985 were years subject to the
               requirements for budget neutrality. As required under section
               1886(e)(1) of the Act, payments under the prospective payment
               system were to be equal to what would have been paid under rate-
               of-increase and peer group limits on reasonable costs under prior
               law (section 1886(b) of the Act) as if the prospective payment
               system had never been implemented. Under the rate-of-increase
               limits and peer group limits, as long as a hospital’s cost was lower
               than that hospital’s limits, we paid that cost, regardless of whether
               real case mix increased or decreased, and regardless of the effect of
               actual case mix on the cost level for that hospital. . . . Increases in
               real case mix were built into the cost per case increase assumptions
               we used to model the rate-of-increase limits. These assumptions
               took into account estimates of the impact of the rate-of-increase
               limits and the peer group limits. Consequently, we considered
               increases in real case mix in FYs 1984 and 1985. Moreover,
               even these assumed increases in cost per case proved to be
               overstated as we received more recent data against which to
               evaluate our estimates. To have passed through updated
               prospective payment case-mix increases for FY 1984 and FY 1985
               would have been improper because they would increase program
               payments over the level that would have been paid under the
               section 1886(b) limits. As stated above, we have already built
               case-mix increases into the cost-per-case assumptions used in
               deriving budget neutral prospective payment rates for FY 1984
               and FY 1985.



      For cost reporting periods beginning in FY 1985, we have reduced the adjusted standardized
      amounts to reflect the removal of these costs by means of the budget neutrality adjustment
      methodology. Our method for doing this is explained in section V.D. of this Addendum. We
      estimate that FY 1985 payments for anesthetists’ services will be about $160 million, or 0.5 percent
      of Medicare operating costs for hospital accounting years beginning in FY 1985.




                                       COMPLAINT EXHIBIT 1
           Case 1:24-cv-01258-RCL Document 1-1 Filed 04/29/24 Page 40 of 40

Notice of Dismissal for Cases 19-0212G, et al.
119 Morgan Lewis Standardized Amount Group Cases
Page 39

                    Now that there is no further requirement for budget neutrality, we
                    agree that real case-mix increases should be explicitly recognized.
                    In fact, to the extent that case mix continues to increase, hospitals
                    realize the benefit of such increase in increased payments for the
                    current year. This is because we do not recoup payments already
                    made, but only adjust the rates to avoid compounding such
                    overpayments in the future. Thus, FY 1986 prospective payment
                    rates were based on FY 1985 rates, corrected to eliminate all
                    increases in case mix through FY 1985 (since FY 1985 was a
                    budget neutral year).

       3. In the preamble to the FFY 1988 IPPS Final Rule, the Secretary again recognizes the
          prior FFY 1985 budget neutrality adjustments to the standardized amounts had already
          taken into account the removal of nonphysician anesthetist costs and the FFY 1985
          budget neutrality-adjusted rates were reflected in the FFY 1986, 1987, and 1988 rates.

                    c. Nonphysician Anesthetist Costs. Section 1886(d)(5)(E) of the
                    Act provides that hospital costs for the services of nonphysician
                    anesthetists are paid in full as a reasonable cost pass-through.
                    Under section 2312(c) of Pub. L. 98-369, this pass-through was
                    made effective for cost reporting periods beginning on or after
                    October 1,1984, and before October 1,1987. Section 9320(a) of
                    Pub. L. 99-509 extended the period of applicability of this pass-
                    through so that services will continue to be paid under reasonable
                    cost for any cost reporting periods (or parts of cost reporting
                    periods) ending before January 1,1989 and struck subsection (E)
                    effective on that date.

                    In the September 3, 1985 final rule, we noted that to the extent an
                    adjustment was warranted to reflect the removal of these costs
                    from the prospective payment rates for FY 1985, it was
                    incorporated in the overall budget neutrality adjustment (50 FR
                    35708). Therefore, because this adjustment has already been
                    built into the FY 1985 base from which the FY 1986, FY 1987,
                    and proposed FY 1988 rates are derived, we did not propose to
                    make further adjustments to the average standardized amounts for
                    FY 1988.76




76
     52 Fed. Reg. 33034, 33064 (Sept. 1, 1987) (emphasis added).




                                           COMPLAINT EXHIBIT 1
